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     Exhibit D
  (FILED UNDER
      SEAL)
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p@gjp_gdif r\n `q`i \r\m` ja oc` •578 k\o`io g`o \gji` oc\o p@gjp_gdif dio`i_`_ oj di_p^`

diamdibdib \^on jm oc\o do fi`r oc` >^^pn`_ A`qd^`n r`m` `nk`^d\ggt h\_` jm `nk`^d\ggt \_\ko`_

ajm pn` di oc` \gg`b`_ diamdib`h`io ja oc` •578 k\o`io- >^^jm_dibgt+ Am- @g\mf c\n a\dg`_ oj ncjr

oc\o p@gjp_gdif di_dm`^ogt diamdib`_ \it >nn`mo`_ @g\dh-

         5(        7`( 6ZP`Y 9PXZTS b] D`]dT =\U`X\VT[T\b Qg ;,

                   +(     7`( 6ZP`Y 9PXZTS b] D`]dT =\U`X\VT[T\b ]U 6ZPX[ 2 Qg ;,

                         P(      8ZT[T\b 2ND`TO

|4!bU]QWQ^^!OZXX`YUOM_UZY!OWUQY_!Z]!Qc_QY^UZY!`YU_!OZX[]U^UYS!M![W`]MWU_d!ZR!XQXZ]d$!
[]ZOQ^^Z]^$![]ZS]MX^$!OZXX`YUOM_UZY!OU]O`U_]d$!M`_TQY_UOM_UZY!PM_M!^_Z]QP!ZY!M!^`N^O]UNQP!
UPQY_URd!XZP`WQ!"F=A#!OM]P!MYP'Z]!UY!XQXZ]d!MYP!YZY%WZOMW!OMWW^!PM_MNM^Q$!M_!WQM^_!ZYQ!ZR!_TQ!
[W`]MWU_d!ZR![]ZS]MX^!^_Z]QP!UY!_TQ!XQXZ]d!OZX[]U^Q^!UY^_]`O_UZY^!QcQO`_MNWQ!Nd!M_!WQM^_!ZYQ!ZR!
_TQ![W`]MWU_d!ZR![]ZOQ^^Z]^!RZ]}

         034-      Am- @g\mf a\dg`_ oj kmjq` oc\o oc` D1 _`qd^` h``on \gg gdhdo\odjin ja oc` km`\h]g`

ja ^g\dh 7-

                                  (0)    HWT D`TP[QZT ]U 6ZPX[ 2 =a @X[XbX\V

         035-      Am- @g\mf `mmji`jpngt \mbp`_ oc\o |i`doc`m k\mot m`lp`no`_ oc\o oc` km`\h]g` ]`

^jinomp`_ \n gdhdodib-} Bs- /2 (@g\mf O`kjmo) \o w 0/7 (|i`doc`m k\mot m`lp`no`_ oc\o oc` km`\h]g`

]` ^jinomp`_ \n gdhdodib})- Am- @g\mf a\dg`_ oj kmjqd_` \it `qd_`i^` jm njgd_ m`\njidib oc\o oc`

km`\h]g` ja ^g\dh 7 dn ijo gdhdodib- Edn ^pmnjmt ^ji^gpndji jigt m`gd`_ ji oc` \gg`b`_ a\^o oc\o

|XiZ`doc`m Mg\diodaa ijm A`a`i_\io di^gp_`_ oc` km`\h]g` ja ^g\dh 7 \n \ _dnkpo`_ ^g\dh o`mh} ajm

^g\dh ^jinomp^odji \n oc` ]\ndn ajm cdn ^ji^gpndji- =P& \o w 0/7- ?t _jdib nj Am- @g\mf \nnph`n

oc\o oc` km`\h]g` ja ^g\dh 7 dn ]t _`a\pgo ijo gdhdodib-

         036-      Am- @g\mf•n \nnphkodji dn ^jhkg`o`gt bmjpi_g`nn \i_ `mmji`jpn- ?\n`_ ji g`b\g

\_qd^` amjh Jjmb\i I`rdn \oojmi`tn ji ^\n` g\r+ F pi_`mno\i_ oc\o \ ^g\dh km`\h]g` ^\iijo ]`

n``i \n ]t _`a\pgo ijo gdhdodib \n Am- @g\mf hdnpi_`mnojj_+ ]po rc`oc`m gdhdodib c\n oj ]`

_`o`mhdi`_ ji \ ^\n`,]t,^\n` ]\ndn di gdbco ja oc` a\^on di `\^c ^\n`- FQQ 6M_MWUYM!AV_S&!=Y_fW!a&!




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6ZZW^MaUYS^&OZX$!=YO&+ 178 C-2_ 7/0+ 7/7 (C`_- @dm- 1//1)- Qc`m`ajm`+ oc` km`\h]g` ja ^g\dh 7

ncjpg_ ijo ]` n``i \n ijo gdhdodib+ ndhkgt ]`^\pn` |XiZ`doc`m Mg\diodaa ijm A`a`i_\io di^gp_`_ oc`

km`\h]g` ja ^g\dh 7 \n \ _dnkpo`_ ^g\dh o`mh+} \n di^jmm`^ogt \nnph`_ ]t Am- @g\mf- Bs- /2

(@g\mf O`kjmo) \o ww 0/7-

         037-      ?\n`_ ji g`b\g \_qd^` amjh Jjmb\i I`rdn \oojmi`tn ji ^\n` g\r n`o ajmoc ]`gjr+ F

]`gd`q` oc` km`\h]g` ja ^g\dh 7 dn gdhdodib- |Fa oc` ^g\dh km`\h]g`+ rc`i m`\_ di oc` ^jio`so ja

oc` `iodm` ^g\dh+ m`^do`n gdhdo\odjin ja oc` ^g\dh+ jm+ da oc` ^g\dh km`\h]g` dn ~i`^`nn\mt oj bdq`

gda`+ h`\idib+ \i_ qdo\gdot• oj oc` ^g\dh+ oc`i oc` ^g\dh km`\h]g` ncjpg_ ]` ^jinomp`_ \n da di oc`

]\g\i^` ja oc` ^g\dh-} DU_YQd!5ZbQ^$!=YO&!a&!<QbWQ__%DMOVM]P!6Z&+ 071 C-2_ 0187+ 02/4 (C`_- @dm-

0888) (lpjodib ?]Z[M!a&!EZNUQ+ 076 C-1_ 04/+ 041 (@@M> 0840)); ^QQ!MW^Z >MY^QY!a&!EQcMWW!

F`YPZbY$!=YO&+ 231 C-2_ 0218+ 0222 (C`_- @dm- 1//2)-

         038-      Cdmno+ ]\n`_ ji g`b\g \_qd^` amjh Jjmb\i I`rdn \oojmi`tn ji ^\n` g\r+ F ]`gd`q`

oc` km`\h]g` ja ^g\dh 7 dn gdhdodib ]`^\pn` oc` ^g\dh km`\h]g` m`^do`n oc` |rdm`g`nn

^jhhpid^\odji ^gd`io jm `so`indji pido} gdhdo\odji kmjqd_dib \i \io`^`_`io ]\ndn ajm oc`

gdhdo\odji |oc` rdm`g`nn ^jhhpid^\odji ^gd`io jm oc` `so`indji pido} di oc` ^g\dh ]j_t- FQQ!8M_ZY!

6Z][&!a&!EZOVbQWW!=Y_fW!6Z][&+ 212 C-2_ 0221+ 0228 (C`_- @dm- 1//2) (|Tc`i gdhdo\odjin di oc`

]j_t ja oc` ^g\dh m`gt pkji \i_ _`mdq` \io`^`_`io ]\ndn amjh oc` km`\h]g`+ oc`i oc` km`\h]g`

h\t \^o \n \ i`^`nn\mt ^jhkji`io ja oc` ^g\dh`_ diq`iodji-})- Qc` |rdm`g`nn ^jhhpid^\odji

^gd`io jm `so`indji pido} gdhdo\odji di oc` km`\h]g` dn m`^do`_ \o g`\no adq` odh`n di oc` ^g\dh ]j_t

ja ^g\dh 7- Bs- /0 (•578 k\o`io) \o 14901+ 14904+ 14912+ 14923+ 14928- Qc` |rdm`g`nn

^jhhpid^\odji ^gd`io jm `so`indji pido} gdhdo\odji di oc` km`\h]g` ja ^g\dh 7 dn \gnj m`^do`_ di

_`k`i_`io ^g\dhn 01 \i_ 03 (Bs- /0 (•578 k\o`io) \o 14954,55+ 15902,03)- Qc` km`\h]g` o`mh

|rdm`g`nn ^jhhpid^\odji ^gd`io jm `so`indji pido} ja di_`k`i_`io ^g\dh 7 kmjqd_`n \i \io`^`_`io




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]\ndn ajm \i_ dn i`^`nn\mt oj pi_`mno\i_ kjndodq` gdhdo\odjin di oc` ]j_t ja ^g\dh 7 \i_ _`k`i_`io

^g\dhn 01 \i_ 03+ \i_ dn oc`m`ajm` gdhdodib- FQQ!DMOUYS!GQOTYZWZSUQ^$!@@6!a&!;M]XUY!=Y_Q]Y-+

Fi^-+ 667 C- 2_ 0/10+ 0/13 (C`_- @dm- 1/04) (|?`^\pn` oc` km`\h]g` o`mhn ~pn`m• \i_ ~m`k`ododq`

hjodji k\^dib ntno`h• Xja di_`k`i_`io ^g\dh 14Z kmjqd_` \io`^`_`io ]\ndn ajm \i_ \m` i`^`nn\mt

oj pi_`mno\i_ kjndodq` gdhdo\odjin di oc` ]j_t ja ^g\dhn X14 \i_ 17Z di oc` •732 k\o`io+ r` cjg_

oc\o oc` km`\h]g` oj ^g\dh 14 dn gdhdodib-})-

         04/-      P`^ji_+ ]\n`_ ji g`b\g \_qd^` amjh Jjmb\i I`rdn \oojmi`tn ji ^\n` g\r+ F

]`gd`q` oc` km`\h]g` ja ^g\dh 7 dn gdhdodib ]`^\pn` oc` ^g\dh km`\h]g` m`^do`n \i `nn`iod\g

nomp^opm` gdhdodib oc` ^g\dh`_ \kk\m\opn |rdm`g`nn ^jhhpid^\odji ^gd`io jm `so`indji pido} ja

^g\dh 7- FQQ+ Q&S-+ 6Z]YUYS!;WM^^!JZ]V^!a&!F`XU_ZXZ!8WQO&!H&F&4&$!=YO&+ 757 C-1_ 0140+ 0146

(C`_- @dm- 0878) (Qc` _`o`mhdi\odji ja rc`oc`m km`\h]g` m`^do\odjin \m` nomp^opm\g gdhdo\odjin ^\i

]` m`njgq`_ jigt ji m`qd`r ja oc` `iodm`ot ja oc` \kkgd^\odji |oj b\di \i pi_`mno\i_dib ja rc\o

oc` diq`iojmn \^op\ggt diq`io`_ \i_ dio`i_`_ oj `i^jhk\nn ]t oc` ^g\dh-}); DMO%GQO!=YO&!a&!

4XQ]MOQ!6Z][-+ 8/2 C-1_ 685+ 7/0 (C`_- @dm- 088/) (_`o`mhdidib oc\o km`\h]g` g\ibp\b` oc\o

^jinodopo`n \ nomp^opm\g gdhdo\odji dn \^op\ggt k\mo ja oc` ^g\dh`_ diq`iodji)- Fi ht jkdidji+ oc`

km`\h]g` ja ^g\dh 7 m`^do`n \ iph]`m ja nomp^opm\g gdhdo\odjin (d-`-+ |\ kgpm\gdot ja h`hjmt+

kmj^`nnjmn+ kmjbm\hn+ ^jhhpid^\odji ^dm^pdomt+ \poc`iod^\odji _\o\ nojm`_ ji \ np]n^md]`_

d_`iodat hj_pg` (PFJ) ^\m_ \i_.jm di h`hjmtX+Z \i_ iji,gj^\g ^\ggn _\o\]\n`}) (Bs- /0 (•578

k\o`io) \o 1494,7)+ rcd^c \m` m`lpdm`_ oj ]` di^gp_`_ di oc` kpmkjmo`_ diq`iodji |rdm`g`nn

^jhhpid^\odji ^gd`io jm `so`indji pido} ja ^g\dh 7- Fi ht jkdidji+ oc` \]jq` m`^do`_ nomp^opm\g

gdhdo\odjin \m` i`^`nn\mt oj k`majmh oc` no`kn m`^do`_ di ]j_t ja oc` ^g\dh 7- Cjm `s\hkg`+

rdocjpo oc` km`\h]g` gdhdo\odji |kmjbm\hn+} oc`m` rjpg_ ]` ij dinomp^odjin ajm oc` no`kn m`^do`_

di oc` ^g\dh ]j_t- Tdocjpo oc` km`\h]g` gdhdo\odji |h`hjmt+} ijrc`m` ^\i oc` dinomp^odjin ajm




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oc` no`kn m`^do`_ di oc` ^g\dh ]j_t ]` nojm`_- Tdocjpo oc` km`\h]g` gdhdo\odji |kmj^`nnjmn+} oc`

no`kn m`^do`_ di oc` ^g\dh ]j_t rjpg_ ijo ]` k`majmh`_- Fi_``_+ \n oc` ^g\dh km`\h]g` m`^do`n+

|\o g`\no ji` ja oc` kgpm\gdot ja []ZS]MX^ nojm`_ di oc` XQXZ]d ^jhkmdn`n dinomp^odjin `s`^po\]g`

]t \o g`\no ji` ja oc` kgpm\gdot ja []ZOQ^^Z]^} (Bs- /0 (•578 k\o`io) \o 1497,0/) dn m`lpdm`_ ajm

k`majmhdib oc` ^g\dh`_ no`kn di oc` ]j_t ja ^g\dh 7-

         040-      Fi \__dodji+ di ht jkdidji+ rdocjpo oc` km`\h]g` gdhdo\odji |^jhhpid^\odji

^dm^pdomt+} oc` ^g\dh`_ \kk\m\opn |rdm`g`nn ^jhhpid^\odji ^gd`io jm `so`indji pido} rjpg_ ijo ]`

\]g` oj `no\]gdnc ^jhhpid^\odjin rdoc |\ m`hjo` \_hdidnom\odji ntno`h} \i_ |\ gj^\g ^`ggpg\m

^jhhpid^\odji i`orjmf} m`^do`_ di oc` ^g\dh ]j_t ja ^g\dh 7+ oj k`majmh |`i\]gdib \i didod\g

n`oodib ja oc` rdm`g`nn ^jhhpid^\odji ^gd`io jm oc` `so`indji pido \i_ \ m`hjo` \_hdidnom\odji

ntno`h; `no\]gdncdib \ _\o\ ^jhhpid^\odji gdif - - - ; `no\]gdncdib \ gj^\g \poc`iod^\odji

diajmh\odji m`lp`no di m`nkjin` oj \ gj^\g \poc`iod^\odji m`lp`no ]t \ gj^\g ^`ggpg\m

^jhhpid^\odji i`orjmf - - - ; m`g\tdib oc` gj^\g \poc`iod^\odji diajmh\odji m`lp`no oj oc` m`hjo`

\_hdidnom\odji ntno`h qd\ oc` _\o\ ^jhhpid^\odji gdif - - - ; `no\]gdncdib gj^\g rdm`g`nn n`mqd^`n

kmjqd_`_ ]t oc` gj^\g ^`ggpg\m ^jhhpid^\odji i`orjmf} \n m`lpdm`_ ]t ^g\dh 7- Bs- /0 (•578

k\o`io) \o 14900,26; ^QQ!MW^Z @g\mf O`kjmo \o w 023 (Am- @g\mf \_hdoo`_ oc\o |oc` ~`i\]gdib \i

didod\g n`oodib• gdhdo\odji ^jhkmdn`n no`kn oc\o a\^dgdo\o` oc` `no\]gdnch`io ja \ _\o\

^jhhpid^\odji gdif ]`or``i oc` ajm`dbi rdm`g`nn ^gd`io jm `so`indji pido-})-

         041-      Cpmoc`mhjm`+ di ht jkdidji+ rdocjpo oc` km`\h]g` gdhdo\odji |iji,gj^\g ^\ggn

_\o\]\n`+} oc` ^g\dh`_ \kk\m\opn |rdm`g`nn ^jhhpid^\odji ^gd`io jm `so`indji pido} rjpg_ ijo ]`

\]g` oj |`no\]gdncXZ gj^\g rdm`g`nn n`mqd^`n} (\n m`lpdm`_ ]t ^g\dh 7) di^gp_dib km`a`mm`_

`h]j_dh`io ja h\fdib iji,gj^\g ^\ggn- ?\n`_ ji g`b\g \_qd^` amjh Jjmb\i I`rdn \oojmi`tn ji

^\n` g\r+ F ]`gd`q` oc` km`a`mm`_ `h]j_dh`io ja h\fdib iji,gj^\g ^\ggn ^\iijo ]` `s^gp_`_ amjh




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|`no\]gdncdib gj^\g rdm`g`nn n`mqd^`n} ja ^g\dh 7+ \i_ oc` |iji,gj^\g ^\ggn _\o\]\n`} dn m`lpdm`_

ajm oc` km`a`mm`_ `h]j_dh`io ja h\fdib iji,gj^\g ^\ggn- FQQ Bs- /0 (•578 k\o`io) \o 14921,23;

CY%@UYQ!GQOT^&$!=YO&!a&!5ZPQY^QQbQ]V!DQ]VUY%8WXQ]!;XN<$!275 C-2_ 0022+ 0027 (C`_- @dm- 1//3)

(|\ ^g\dh dio`mkm`o\odji oc\o `s^gp_`n \ km`a`mm`_ `h]j_dh`io amjh oc` n^jk` ja oc` ^g\dh dn

m\m`gt+ da `q`m+ ^jmm`^o-})- ?\n`_ ji ht m`qd`r ja oc` •578 k\o`io+ iji,gj^\g ^\ggn n`mqd^` dn oc`

km`a`mm`_ `h]j_dh`io ja |`no\]gdncdib gj^\g rdm`g`nn n`mqd^`n} ja ^g\dh 7- Cjm `s\hkg`+ oc`

kpmkjn` ja oc` kpmkjmo`_ diq`iodji ja oc` •578 k\o`io dn oj |kmjqd_`XZ ndbidad^\io ^jno n\qdibn oj

oc` pn`m+ rcj dn ij gjib`m np]e`^o oj oc` `s^`nndq` mj\hdib ^c\mb`n _`h\i_`_ ]t oc` pn`m'n

^`ggpg\m kcji` kmjqd_`m} bTQY!XMVUYS!YZY%WZOMW!OMWW^- Bs- /0 (•578 k\o`io) \o 4901,06 (`hkc\n`n

\__`_); ^QQ!MW^Z!UP&!\o (|Qc` h`ocj_n \i_ ntno`hn _`n^md]`_ ]`gjr \ggjr \ ajm`dbi rdm`g`nn

^jhhpid^\odji _`qd^` oj jk`m\o` di \ gj^\g rdm`g`nn ^jhhpid^\odji i`orjmf \n da do r`m` \ gj^\g

rdm`g`nn ^jhhpid^\odji ^gd`io- Cjm `s\hkg`+ \ ^`ggpg\m o`g`kcji` \nnj^d\o`_ rdoc \ rdm`g`nn

^jiom\^o rdoc >Q&Qx di P\i Cm\i^dn^j (oc` ajm`dbi rdm`g`nn ^jhhpid^\odji ^gd`io) XMVQ^!M!

_QWQ[TZYQ!OMWW amjh \ SLA>MELKBx ^`ggpg\m o`g`kcji` i`orjmf di Iji_ji (oc` gj^\g rdm`g`nn

^jhhpid^\odji i`orjmf)-}) (`hkc\ndn \__`_)- Qc` •578 k\o`io _`n^md]`n c\qdib oc` |iji,gj^\g

^\ggn _\o\]\n`} ja ^g\dh 7 \n i`^`nn\mt k\mo ja oc` kpmkjmo`_ diq`iodji oj a\^dgdo\o` oc` kpmkjn`-

FQQ!Bs- /0 (•578 k\o`io) \o 04946,0595 (|GTQ!YZY%WZOMW!OMWW^!PM_MNM^Q!-*-!WU^_^!aM]UZ`^!WZOM_UZY^$!

OZ]]Q^[ZYPUYS!M]QM!OZPQ^$!MYP!OZ]]Q^[ZYPUYS!WZOMW!PUMW%UY!_QWQ[TZYQ!Y`XNQ]^!RZ]!`^Q!bTQY!_TQ!

^`N^O]UNQ]!bMY_^!_Z!XMVQ!M!YZY%WZOMW!OMWW!bTQY![]Q^QY_!M_!M![M]_UO`WM]!WZOM_UZY- Cjm `s\hkg`+

rc`i \ pn`m _`ndm`n oj h\f` \ iji,gj^\g ^\gg rc`i rdocdi \ k\mod^pg\m gj^\odji (`-b-+ \ qdndodib

^\gg`m di Iji_ji r\ion oj ^\gg cdn cjh` jaad^` di P\i Cm\i^dn^j)+ oc` ^gd`io 0/5 jm `so`indji pido

0/7 dn \]g` oj _`o`mhdi` oc\o _TQ!OMWWQP!Y`XNQ]!U^!YZ_!bU_TUY!_TQ!WZOMW!M]QM+ \i_ oc`i _d\g \ gj^\g

^jhhpid^\odji n`mq`m 017 (CFD- 0) \o \ gj^\g iph]`m amjh oc` gdno- Qc` ^jhhpid^\odji n`mq`m




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017 (CFD- 0)+ pndib oc` mjpodib _\o\]\n` 02/+ oc`i m`mjpo`n oc` ^\gg oj oc` _`nodi\odji pndib oc`

hjno npdo\]g` mjpo`- Cjm `s\hkg`+ oc` ^jhhpid^\odjin n`mq`m 017 (CFD- 0) h\t mjpo` oc` ^\gg

jq`m Sjd^` Lq`m FM (SjFM) oj \ijoc`m ^jhhpid^\odji n`mq`m i`\m oc` _`nodi\odji di P\i

Cm\i^dn^j+ _TQ]QNd!S]QM_Wd!]QP`OUYS!_TQ!OZ^_!ZR!_TQ!OMWW-}) (`hkc\n`n \__`_)-

         042-      Qc`m`ajm`+ ]\n`_ ji g`b\g \_qd^` amjh Jjmb\i I`rdn \oojmi`tn ji ^\n` g\r+ F

]`gd`q` oc` ^g\dh km`\h]g` m`^do`n nomp^opm\g gdhdo\odjin ja oc` ^g\dh`_ \kk\m\opn |rdm`g`nn

^jhhpid^\odji ^gd`io jm `so`indji pido} ja ^g\dh 7 \i_ ^g`\mgt _`adi`n \i_ gdhdon oc` kpmkjmo`_

diq`iodji+ \i_ ^\iijo ]` dbijm`_- FQQ 6Z]YUYS!;WM^^+ 757 C-1_ \o 0146; =Y!]Q!F_QYOQW+ 717 C-1_

640 (C`_- @dm- 0876) (Qc` ^g\dh \o dnnp` r\n _dm`^o`_ oj \ _mdq`m ajm n`oodib \ ejdio ja \ ocm`\_`_

^jgg\m; cjr`q`m+ oc` ]j_t ja oc` ^g\dh _d_ ijo _dm`^ogt di^gp_` oc` nomp^opm` ja oc` ^jgg\m \n k\mo

ja oc` ^g\dh`_ \mod^g`- Qc` `s\hdi`m _d_ ijo ^jind_`m oc` km`\h]g`+ rcd^c _d_ n`o ajmoc oc`

nomp^opm` ja oc` ^jgg\m+ \n gdhdodib oc` ^g\dh- Qc` ^jpmo ajpi_ oc\o oc` ^jgg\m nomp^opm` ^jpg_ ijo ]`

dbijm`_- Tcdg` oc` ^g\dh r\n ijo _dm`^ogt gdhdo`_ oj oc` ^jgg\m+ oc` ^jgg\m nomp^opm` m`^do`_ di oc`

km`\h]g` _d_ gdhdo oc` nomp^opm` ja oc` _mdq`m-)-

         043-      Qcdm_+ ]\n`_ ji g`b\g \_qd^` amjh Jjmb\i I`rdn \oojmi`tn ji ^\n` g\r+ F ]`gd`q`

oc` km`\h]g` ja ^g\dh 7 dn gdhdodib ]`^\pn` |oc` ^g\dh km`\h]g` dn ~i`^`nn\mt oj bdq` - - - qdo\gdot•

oj oc` ^g\dh-} FQQ DU_YQd! 5ZbQ^+ 071 C-2_ \o 02/4- Qc` k\o`io`` m`a`mm`_ oj oc` km`\h]g`

gdhdo\odji |rdm`g`nn ^jhhpid^\odji ^gd`io jm `so`indji pido} oj \mbp` oc` k\o`io\]dgdot ja oc`

^g\dh 7 _pmdib kmjn`^podji- >n ncjri di don \mbph`ion (m`kmj_p^`_ ]`gjr) h\_` _pmdib

kmjn`^podji+ oj jq`m^jh` oc` m`e`^odji ja oc`i k`i_dib ^g\dh 1 (d-`-+ ^g\dh 7 ja oc` •578 k\o`io)

pi_`m 24 R-P-@- 0/2(\) jq`m kmdjm \mo di^gp_dib TL 1//5./83453 oj T\goji (|JMW_ZY})+ oc`

k\o`io`` \oo`hko`_ oj _daa`m`iod\o` oc` kpmkjmo`_ diq`iodji amjh JMW_ZY+ ]t nom`nndib oc`

km`\h]g` gdhdo\odji |rdm`g`nn ^jhhpid^\odji ^gd`io jm `so`indji pido} \i_ \mbpdib JMW_ZY a\dg`_




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oj pn` np^c |rdm`g`nn ^jhhpid^\odji ^gd`io jm `so`indji pido} oj n`i_ \poc`iod^\odji diajmh\odji

oj oc` mj\hdib i`orjmf- Bs- /6 (•578 Mmjn`^podji Ednojmt , >h`i_h`io \i_ O`nkjin` _\o`_

P`ko`h]`m 08+ 1/05) \o 0/ (m`kmj_p^`_ ]`gjr)- Qcpn+ ]\n`_ ji g`b\g \_qd^` amjh Jjmb\i I`rdn

\oojmi`tn ji ^\n` g\r+ F ]`gd`q` oc` k\o`io``•n |^g`\m m`gd\i^` ji oc` km`\h]g` _pmdib kmjn`^podji

oj _dnodibpdnc oc` ^g\dh`_ diq`iodji amjh oc` kmdjm \mo om\inajmhn oc` km`\h]g` dioj \ ^g\dh

gdhdo\odji ]`^\pn` np^c m`gd\i^` di_d^\o`n pn` ja oc` km`\h]g` oj _`adi`+ di k\mo+ oc` ^g\dh`_

diq`iodji-} 6M_MWUYM!AV_S-+ 178 C-2_ \o 7/7,/8-




Bs- /6 (•578 Mmjn`^podji Ednojmt , >h`i_h`io \i_ O`nkjin` _\o`_ P`ko`h]`m 08+ 1/05) \o 0/-

         044-      Qc`m`ajm`+ di ht jkdidji+ oc` km`\h]g` ja ^g\dh 7 dn gdhdodib+ ]`^\pn`9 (d) oc`

km`\h]g` gdhdo\odji |rdm`g`nn ^jhhpid^\odji ^gd`io jm `so`indji pido} kmjqd_`n \i \io`^`_`io

]\ndn ajm oc` ]j_t ja ^g\dhn 7+ 01+ \i_ 03; (dd) oc` km`\h]g` m`^do`n i`^`nn\mt nomp^opm\g

gdhdo\odjin ja oc` kpmkjmo`_ diq`iodji ja ^g\dh 7; \i_ (ddd) oc` k\o`io``•n ^g`\m m`gd\i^` ji oc`

km`\h]g` gdhdo\odji |rdm`g`nn ^jhhpid^\odji ^gd`io jm `so`indji pido} _pmdib kmjn`^podji oj

_dnodibpdnc oc` kpmkjmo`_ diq`iodji ^g\dh 7 amjh oc` kmdjm \mo om\inajmhn oc` km`\h]g` dioj \

^g\dh gdhdo\odji-

         045-      >^^jm_dibgt+ oc` Mg\diodaa (ocmjpbc Am- @g\mf) ]`\mn oc` ]pm_`i+ rcd^c Am- @g\mf

a\dg`_ \n _dn^pnn`_ ]`gjr+ oj kmjq` oc\o oc` >^^pn`_ Mmj_p^on h``o `\^c \i_ `q`mt gdhdo\odji ja

oc` km`\h]g` di jm_`m oj kmjq` diamdib`h`io ja ^g\dh 7-




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_`qd^` ^jio\din \ |iji,gj^\g ^\ggn _\o\]\n`} \n m`lpdm`_ ]t ^g\dh 7-

         052-      P`^ji_gt+ Am- @g\mf hdnm`\_ oc` km`\h]g` gdhdo\odji |iji,gj^\g ^\ggn _\o\]\n`} ja

^g\dh 7 \n |\poc`iod^\odji _\o\ nojm`_ ji - - - iji,gj^\g ^\ggn _\o\]\n`-} FQQ!UP- Qcdn dio`mkm`o\odji

dn ijin`ind^\g \i_ dn di^jindno`io rdoc oc` •578 k\o`io nk`^dad^\odji+ `-b-+ CFD- 4? (m`kmj_p^`_

]`gjr)- Kjrc`m` _j`n oc` •578 k\o`io nk`^dad^\odji _`n^md]`n nojmdib \poc`iod^\odji _\o\ ji iji,

gj^\g ^\ggn _\o\]\n`- FQQ!Bs- /0 (•578 k\o`io) \o 03910,13 (|Qc` rdm`g`nn ^jhhpid^\odji ^gd`io

0/5 (jm rdm`g`nn `so`indji pido 0/7) ^_Z]Q^!M_!WQM^_!M![Z]_UZY!ZR!M`_TQY_UOM_UZY!PM_M!-+(!QU_TQ]!ZY!

M!F=A!OM]P!MYP'Z]!UY!XQXZ]d!-)* \n \poc`iod^\odji diajmh\odji 421-})-




Bs- /0 (•578 k\o`io) \o Cdbpm` 4?-

         053-      Fi ht jkdidji+ amjh ]joc gdibpdnod^ \i_ o`^cid^\g k`mnk`^odq`n+ oc` km`\h]g` ja

^g\dh 7 nc\gg m`\_ \n |NPO eX`TZTaa R][[c\XRPbX]\ RZXT\b ]` TfbT\aX]\ c\Xb R][^`XaX\V P

^Zc`PZXbg ]U h`hjmt+ kmj^`nnjmn+ kmjbm\hn+ ^jhhpid^\odji ^dm^pdomt+ \poc`iod^\odji _\o\ nojm`_

ji \ np]n^md]`_ d_`iodat hj_pg` (PFJ) ^\m_ \i_.jm di h`hjmtN&O P\S \]\'Z]RPZ RPZZa SPbPQPaT -

- -} rc`m`\n oc` |iji,gj^\g ^\ggn _\o\]\n`} dn ji` ja oc` m`^do`_ nomp^opm\g ^jhkji`ion ja oc`

rdm`g`nn ^jhhpid^\odji ^gd`io jm `so`indji pido+ m\oc`m oc\i \ kg\^` oj nojm` oc` m`^do`_

|\poc`iod^\odji _\o\-} Jt m`\_dib ja oc` km`\h]g` dn ^jindno`io rdoc oc` •578 k\o`io nk`^dad^\odji

_dn^gjndib oc` iji,gj^\g ^\ggn _\o\]\n` nojmdib |q\mdjpn gj^\odjin+ ^jmm`nkji_dib \m`\ ^j_`n+ \i_

^jmm`nkji_dib gj^\g _d\g,di o`g`kcji` iph]`mn+} \i_ ijrc`m` _j`n oc` nk`^dad^\odji _dn^gjn`




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         Case 1:18-cv-05427-JSR Document 97-4 Filed 03/19/19 Page 11 of 49




nojmdib \poc`iod^\odji _\o\ di oc` iji,gj^\g ^\ggn _\o\]\n`- Am- @g\mf•n m`\_dib ja oc` ^g\dh 7

km`\h]g` dn ijo o`^cid^\ggt njpi_- Bs- /0 (•578 k\o`io) \o 04946,50 (|Qc` iji,gj^\g ^\ggn

_\o\]\n` 414 gdnon q\mdjpn gj^\odjin+ ^jmm`nkji_dib \m`\ ^j_`n+ \i_ ^jmm`nkji_dib gj^\g _d\g,di

o`g`kcji` iph]`mn ajm pn` rc`i oc` np]n^md]`m r\ion oj h\f` \ iji,gj^\g ^\gg rc`i km`n`io \o \

k\mod^pg\m gj^\odji-})-

         054-      Am- @g\mf a\dg`_ oj kmjqd_` `qd_`i^` oc\o oc` D1 _`qd^` ^jio\din oc` |iji,gj^\g

^\ggn _\o\]\n`} \n m`lpdm`_ ]t ^g\dh 7- Pdi^` oc` Dgj^\gJ` _`qd^`n (di^gp_dib oc` D1 _`qd^`n) _j

ijo kmjqd_` ^`ggpg\m qjd^` n`mqd^`n \i_ oc`m`ajm` _j ijo i``_ oc` |iji,gj^\g ^\ggn _\o\]\n`} \n

m`lpdm`_ ]t ^g\dh 7- >n `qd_`i^`_ ji oc` r`]ndo`n (`-b-+

cookn9..rrr-bgj^\gh`-^jh._\o\[k\^f\b`=g\ib<`i,RP&bdnj<FK;

cookn9..rrr-\h\uji-^jh.n.m`a<i][n][ijnn[1=pmg<n`\m^c,\gd\n%2A\kn&ad`g_,

f`trjm_n<Dgj^\gJ`) n`ggdib Dgj^\gJ` _`qd^`n+ oc` Dgj^\gJ` _`qd^`n (di^gp_dib oc` D1 _`qd^`n)

kmjqd_` ZYWd _\o\ n`mqd^`n \i_ c\n YZ joc`m ^jhhpid^\odji n`mqd^`n gdf` PJP \i_ ^`ggpg\m qjd^`

n`mqd^`n-




         055-      Fi ht jkdidji+ oc`m` dn \hkg` `qd_`i^` oc\o oc` D1 _`qd^` _j`n ijo di^gp_` \ iji,

gj^\g ^\ggn _\o\]\n`+ \n _`n^md]`_ di Cdbpm` 4? (m`kmj_p^`_ ]`gjr) \i_ oc` nk`^dad^\odji ja oc`

•578 k\o`io- P`` Bs- /0 (•578 k\o`io) \o 04946,50 (|Qc` iji,gj^\g ^\ggn _\o\]\n` 414 gdnon q\mdjpn

gj^\odjin+ ^jmm`nkji_dib \m`\ ^j_`n+ \i_ OZ]]Q^[ZYPUYS!WZOMW!PUMW%UY!_QWQ[TZYQ!Y`XNQ]^ ajm pn`

rc`i oc` np]n^md]`m r\ion oj XMVQ!M!YZY%WZOMW!OMWW rc`i km`n`io \o \ k\mod^pg\m gj^\odji-})

(`hkc\n`n \__`_)-




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         Case 1:18-cv-05427-JSR Document 97-4 Filed 03/19/19 Page 12 of 49




Bs- 16 (R@I,P@///5/2/,5130+                                    \o gdi`n 7316,7413-

         1/2-      Am- @g\mf m`gd`_ ji T`g^c O`kjmo \o v |D1 {

                             } oj npkkjmo cdn \gg`b\odji oc\o oc` D1 _`qd^` h``on oc` \]jq`,m`^do`_

gdhdo\odji ja ^g\dh 7- Bs- /2 (@g\mf O`kjmo) \o w 086- ?po Jm- T`g^c _d_ ijo npkkjmo+ di a\^o

i`b\o`_+ Am- @g\mf•n \gg`b\odji- Qc` \]jq` ^do`_ n`^odji ja T`g^c O`kjmo _dn^pnn`_ oc` D1

_`qd^`

                                                                                         - P``+ `-b-+




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Bs- /3 (T`g^c O`kjmo) \o w 015

                                              (`hkc\ndn \__`_); UP& \o w 03/

                                                                                (`hkc\ndn \__`_);

UP& \o w 033

                                            (`hkc\ndn \__`_)- T`g^c O`kjmo _d_ YZ_ npkkjmo oc\o oc`

D1 _`qd^`




         1/3-      Fi \__dodji+ Am- @g\mf \nn`mo`_ oc\o |A`a`i_\ion• rdoi`nn _`n^md]`_




         1/4-      Qc`m`ajm`+ Am- @g\mf \i_ Jm- T`g^c a\dg`_ oj kmjq` oc\o oc` D1 _`qd^` |m`g\tXnZ

oc` gj^\g \poc`iod^\odji diajmh\odji m`lp`no oj oc` m`hjo` \_hdidnom\odji ntno`h qd\ oc` _\o\

^jhhpid^\odji gdif} ja ^g\dh 0/+ ]`^\pn`




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(@g\mf O`kjmo) \o w 146 (`hkc\n`n \__`_); ^QQ!MW^Z!UP- \o w 137- Cdmnogt+ Am- @g\mf•n m`\_dib ja

oc` ^g\dh 7 km`\h]g` dn ijin`ind^\g \i_ c` kmjqd_`_ ijocdib di npkkjmo ja cdn \gg`b\odji oc\o oc`

D2 _`qd^` ^jio\din \ |iji,gj^\g ^\ggn _\o\]\n`} \n m`lpdm`_ ]t ^g\dh 7-

         153-      P`^ji_gt+ Am- @g\mf hdnm`\_ oc` km`\h]g` gdhdo\odji |iji,gj^\g ^\ggn _\o\]\n`} ja

^g\dh 7 \n |\poc`iod^\odji _\o\ nojm`_ ji - - - iji,gj^\g ^\ggn _\o\]\n`-} FQQ!UP- Qcdn dn di^jmm`^o

\i_ dn di^jindno`io rdoc oc` •578 k\o`io nk`^dad^\odji- Kjrc`m` _j`n oc` •578 k\o`io nk`^dad^\odji

_`n^md]`n nojmdib \poc`iod^\odji _\o\ ji iji,gj^\g ^\ggn _\o\]\n`- FQQ!Bs- /0 (•578 k\o`io) \o

03910,13 (|Qc` rdm`g`nn ^jhhpid^\odji ^gd`io 0/5 (jm rdm`g`nn `so`indji pido 0/7) ^_Z]Q^!M_!

WQM^_!M![Z]_UZY!ZR!M`_TQY_UOM_UZY!PM_M!-+(!QU_TQ]!ZY!M!F=A!OM]P!MYP'Z]!UY!XQXZ]d!-)* \n

\poc`iod^\odji diajmh\odji 421-})-

         154-      Fi ht jkdidji+ amjh oc` gdibpdnod^ \i_ o`^cid^\g k`mnk`^odq`+ oc` km`\h]g` ja

^g\dh 7 nc\gg m`\_ \n |NPO eX`TZTaa R][[c\XRPbX]\ RZXT\b ]` TfbT\aX]\ c\Xb R][^`XaX\V P

^Zc`PZXbg ]U h`hjmt+ kmj^`nnjmn+ kmjbm\hn+ ^jhhpid^\odji ^dm^pdomt+ \poc`iod^\odji _\o\ nojm`_

ji \ np]n^md]`_ d_`iodat hj_pg` (PFJ) ^\m_ \i_.jm di h`hjmtN&O P\S \]\'Z]RPZ RPZZa SPbPQPaT -

- -} rc`m`\n oc` |iji,gj^\g ^\ggn _\o\]\n`} dn ji` ja oc` m`^do`_ nomp^opm\g ^jhkji`ion ja oc`

rdm`g`nn ^jhhpid^\odji ^gd`io jm `so`indji pido+ m\oc`m oc\i \ kg\^` oj nojm` oc` m`^do`_

|\poc`iod^\odji _\o\-} Jt m`\_dib ja oc` km`\h]g` dn ^jindno`io rdoc oc` •578 k\o`io nk`^dad^\odji

_dn^gjndib oc` iji,gj^\g ^\ggn _\o\]\n` nojmdib |q\mdjpn gj^\odjin+ ^jmm`nkji_dib \m`\ ^j_`n+ \i_

^jmm`nkji_dib gj^\g _d\g,di o`g`kcji` iph]`mn+} \i_ ijrc`m` _j`n oc` nk`^dad^\odji _dn^gjn`

nojmdib \poc`iod^\odji _\o\ di oc` iji,gj^\g ^\ggn _\o\]\n`- Am- @g\mf•n m`\_dib ja oc` ^g\dh 7

km`\h]g` dn ijo o`^cid^\ggt njpi_- Bs- /0 (•578 k\o`io) \o 04946,50 (|Qc` iji,gj^\g ^\ggn

_\o\]\n` 414 gdnon q\mdjpn gj^\odjin+ ^jmm`nkji_dib \m`\ ^j_`n+ \i_ ^jmm`nkji_dib gj^\g _d\g,di

o`g`kcji` iph]`mn ajm pn` rc`i oc` np]n^md]`m r\ion oj h\f` \ iji,gj^\g ^\gg rc`i km`n`io \o \




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         Case 1:18-cv-05427-JSR Document 97-4 Filed 03/19/19 Page 15 of 49




k\mod^pg\m gj^\odji-})-

         155-      Am- @g\mf a\dg`_ oj kmjqd_` `qd_`i^` oc\o oc` D2 _`qd^` ^jio\din oc` |iji,gj^\g

^\ggn _\o\]\n`} \n m`lpdm`_ ]t ^g\dh 7- Qc` Dgj^\gJ` _`qd^`n (di^gp_dib oc` D2 _`qd^`n) _j ijo

kmjqd_` ^`ggpg\m qjd^` n`mqd^`n \i_ oc`m`ajm` _j ijo i``_ oc` |iji,gj^\g ^\ggn _\o\]\n`} \n

m`lpdm`_ ]t ^g\dh 7- >n `qd_`i^`_ ji oc` r`]ndo`n (`-b-+

cookn9..rrr-bgj^\gh`-^jh._\o\[k\^f\b`=g\ib<`i,RP&bdnj<FK;

cookn9..rrr-\h\uji-^jh.n.m`a<i][n][ijnn[1=pmg<n`\m^c,\gd\n%2A\kn&ad`g_,

f`trjm_n<Dgj^\gJ`) n`ggdib Dgj^\gJ` _`qd^`n+ oc` Dgj^\gJ` _`qd^`n (di^gp_dib oc` D2

_`qd^`n) kmjqd_` ZYWd _\o\ n`mqd^`n \i_ c\n YZ joc`m ^jhhpid^\odji n`mqd^`n gdf` PJP \i_

^`ggpg\m qjd^` n`mqd^`n-




         156-      Fi ht jkdidji+ oc`m` dn \hkg` `qd_`i^` oc\o oc` D2 _`qd^` _j`n ijo di^gp_` \ iji,

gj^\g ^\ggn _\o\]\n`+ \n _`n^md]`_ di Cdbpm` 4? (m`kmj_p^`_ ]`gjr) \i_ oc` nk`^dad^\odji ja oc`

•578 k\o`io- FQQ Bs- /0 (•578 k\o`io) \o 04946,50 (|Qc` iji,gj^\g ^\ggn _\o\]\n` 414 gdnon q\mdjpn

gj^\odjin+ ^jmm`nkji_dib \m`\ ^j_`n+ \i_ OZ]]Q^[ZYPUYS!WZOMW!PUMW%UY!_QWQ[TZYQ!Y`XNQ]^ ajm pn`

rc`i oc` np]n^md]`m r\ion oj XMVQ!M!YZY%WZOMW!OMWW rc`i km`n`io \o \ k\mod^pg\m gj^\odji-})

(`hkc\n`n \__`_)-




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         Case 1:18-cv-05427-JSR Document 97-4 Filed 03/19/19 Page 16 of 49




oc` D2 _`qd^` m`^`dq`n oc` gj^\g \poc`iod^\odji m`lp`no (`-b-+ |>poc`iod^\odji O`l})+ oc` D2

_`qd^` Q^_MNWU^TQ^ \ gj^\g \poc`iod^\odji diajmh\odji m`lp`no-}) (`hkc\ndn \__`_)-

         2/1-      >n ncjri ]`gjr+ oc` D2 _`qd^`




Bs- 17 (R@I,P@////836,0042+                                 ^) \o gdi`n 7363,7460

         2/2-      Am- @g\mf m`gd`_ ji T`g^c O`kjmo \o v |D2 {

                               oj npkkjmo cdn \gg`b\odji oc\o oc` D2 _`qd^` h``on oc` \]jq`,m`^do`_

gdhdo\odji ja ^g\dh 7- Bs- /2 (@g\mf O`kjmo) \o w 225- ?po Jm- T`g^c _d_ ijo npkkjmo+ di a\^o

i`b\o`_+ Am- @g\mf•n \gg`b\odji- Qc` \]jq` ^do`_ n`^odji ja T`g^c O`kjmo _dn^pnn`_ oc` D2

_`qd^`



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                                                                                          P``+ `-b-+

Bs- /3 (T`g^c O`kjmo) \o w 72




                                         (`hkc\ndn \__`_)- T`g^c O`kjmo _d_ YZ_ npkkjmo oc\o oc`

D2 _`qd^`




         2/3-      Fi \__dodji+ Am- @g\mf \nn`mo`_ oc\o |A`a`i_\ion• rdoi`nn




         2/4-      Qc`m`ajm`+ Am- @g\mf \i_ Jm- T`g^c a\dg`_ oj kmjq` oc\o oc` D2 _`qd^` |m`g\tXnZ

oc` gj^\g \poc`iod^\odji diajmh\odji m`lp`no oj oc` m`hjo` \_hdidnom\odji ntno`h qd\ oc` _\o\

^jhhpid^\odji gdif} ja ^g\dh 0/+ ]`^\pn`




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         Case 1:18-cv-05427-JSR Document 97-4 Filed 03/19/19 Page 18 of 49




oc` ^g\dh 7 km`\h]g` dn ijin`ind^\g \i_ c` kmjqd_`_ ijocdib di npkkjmo ja cdn \gg`b\odji oc\o oc`

R1 _`qd^` ^jio\din \ |iji,gj^\g ^\ggn _\o\]\n`} \n m`lpdm`_ ]t ^g\dh 7-

         251-      P`^ji_gt+ Am- @g\mf hdnm`\_ oc` km`\h]g` gdhdo\odji |iji,gj^\g ^\ggn _\o\]\n`} ja

^g\dh 7 \n |\poc`iod^\odji _\o\ nojm`_ ji - - - iji,gj^\g ^\ggn _\o\]\n`-} FQQ!UP- Qcdn dn di^jmm`^o

\i_ dn di^jindno`io rdoc oc` •578 k\o`io nk`^dad^\odji- Kjrc`m` _j`n oc` •578 k\o`io nk`^dad^\odji

_`n^md]`n nojmdib \poc`iod^\odji _\o\ ji iji,gj^\g ^\ggn _\o\]\n`- FQQ!Bs- /0 (•578 k\o`io) \o

03910,13 (|Qc` rdm`g`nn ^jhhpid^\odji ^gd`io 0/5 (jm rdm`g`nn `so`indji pido 0/7) ^_Z]Q^!M_!

WQM^_!M![Z]_UZY!ZR!M`_TQY_UOM_UZY!PM_M!-+(!QU_TQ]!ZY!M!F=A!OM]P!MYP'Z]!UY!XQXZ]d!-)* \n

\poc`iod^\odji diajmh\odji 421-})-

         252-      Fi ht jkdidji+ amjh oc` gdibpdnod^ \i_ o`^cid^\g k`mnk`^odq`+ oc` km`\h]g` ja

^g\dh 7 nc\gg ]` m`\_ \n |NPO eX`TZTaa R][[c\XRPbX]\ RZXT\b ]` TfbT\aX]\ c\Xb R][^`XaX\V P

^Zc`PZXbg ]U h`hjmt+ kmj^`nnjmn+ kmjbm\hn+ ^jhhpid^\odji ^dm^pdomt+ \poc`iod^\odji _\o\ nojm`_

ji \ np]n^md]`_ d_`iodat hj_pg` (PFJ) ^\m_ \i_.jm di h`hjmtN&O P\S \]\'Z]RPZ RPZZa SPbPQPaT -

- -} rc`m`\n oc` |iji,gj^\g ^\ggn _\o\]\n`} dn ji` ja oc` m`^do`_ nomp^opm\g ^jhkji`ion ja oc`

rdm`g`nn ^jhhpid^\odji ^gd`io jm `so`indji pido+ m\oc`m oc\i \ kg\^` oj nojm` oc` m`^do`_

|\poc`iod^\odji _\o\-} Jt m`\_dib ja oc` km`\h]g` dn ^jindno`io rdoc oc` •578 k\o`io nk`^dad^\odji

_dn^gjndib oc` iji,gj^\g ^\ggn _\o\]\n` nojmdib |q\mdjpn gj^\odjin+ ^jmm`nkji_dib \m`\ ^j_`n+ \i_

^jmm`nkji_dib gj^\g _d\g,di o`g`kcji` iph]`mn+} \i_ ijrc`m` _j`n oc` nk`^dad^\odji _dn^gjn`

nojmdib \poc`iod^\odji _\o\ di oc` iji,gj^\g ^\ggn _\o\]\n`- Am- @g\mf•n m`\_dib ja oc` ^g\dh

km`\h]g` dn ijo o`^cid^\ggt njpi_- Bs- /0 (•578 k\o`io) \o 04946,50 (|Qc` iji,gj^\g ^\ggn

_\o\]\n` 414 gdnon q\mdjpn gj^\odjin+ ^jmm`nkji_dib \m`\ ^j_`n+ \i_ ^jmm`nkji_dib gj^\g _d\g,di

o`g`kcji` iph]`mn ajm pn` rc`i oc` np]n^md]`m r\ion oj h\f` \ iji,gj^\g ^\gg rc`i km`n`io \o \

k\mod^pg\m gj^\odji-})-




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Bg`h`io 03X\Z gdhdo\odji ja ^g\dh 03- Jjm` dhkjmo\iogt+ \n ncjri di oc` m`g`q\io njpm^` ^j_` F

_dn^pnn`_ \]jq`+ oc` R1 _`qd^` \^op\ggt rjmfn di \ r\t oc\o dn ^jhkg`o`gt ^jiom\mt oj rc\o ^g\dh

03 m`lpdm`n-

         8(        7`( 6ZP`Y 9PXZTS b] D`]dT =\U`X\VT[T\b Qg G+

                   +(     7`( 6ZP`Y 9PXZTS b] D`]dT =\U`X\VT[T\b ]U 6ZPX[ 2 Qg G+

                         P(      8ZT[T\b 2ND`TO

g4!bU]QWQ^^!OZXX`YUOM_UZY!OWUQY_!Z]!Qc_QY^UZY!`YU_!OZX[]U^UYS!M![W`]MWU_d!ZR!XQXZ]d$!
[]ZOQ^^Z]^$![]ZS]MX^$!OZXX`YUOM_UZY!OU]O`U_]d$!M`_TQY_UOM_UZY!PM_M!^_Z]QP!ZY!M!^`N^O]UNQP!
UPQY_URd!XZP`WQ!"F=A#!OM]P!MYP'Z]!UY!XQXZ]d!MYP!YZY%WZOMW!OMWW^!PM_MNM^Q$!M_!WQM^_!ZYQ!ZR!_TQ!
[W`]MWU_d!ZR![]ZS]MX^!^_Z]QP!UY!_TQ!XQXZ]d!OZX[]U^Q^!UY^_]`O_UZY^!QcQO`_MNWQ!Nd!M_!WQM^_!ZYQ!ZR!
_TQ![W`]MWU_d!ZR![]ZOQ^^Z]^!RZ]h

         343-      Am- @g\mf a\dg`_ oj kmjqd_` P0 h``on \gg gdhdo\odjin ja oc` km`\h]g` ja ^g\dh 7-

                                  (0)    HWT D`TP[QZT ]U 6ZPX[ 2 =a @X[XbX\V

         344-      Am- @g\mf `mmji`jpngt \mbp`_ oc\o |XoZc` km`\h]g` ja ^g\dh 7 dn ijo \ gdhdo\odji-}

Bs- /2 (@g\mf O`kjmo) \o w 408- Am- @g\mf a\dg`_ oj kmjqd_` \it `qd_`i^` jm njgd_ m`\njidib oc\o

oc` km`\h]g` ja ^g\dh 7 dn ijo gdhdodib- Edn ^pmnjmt ^ji^gpndji |i`doc`m k\mot m`lp`no`_ oc\o oc`

km`\h]g` ]` ^jinomp`_ \n gdhdodib} jigt m`gd`_ ji oc` \gg`b`_ a\^o oc\o |XiZ`doc`m Mg\diodaa ijm

A`a`i_\io di^gp_`_ oc` km`\h]g` ja ^g\dh 7 \n \ _dnkpo`_ ^g\dh o`mh-} =P& ?t _jdib nj Am- @g\mf

\nnph`n oc\o oc` km`\h]g` ja ^g\dh 7 dn ]t _`a\pgo ijo gdhdodib- >n apggt `skg\di`_ di P`^odji

FU-?-0-\-(0)+ Am- @g\mf•n \nnphkodji dn ^jhkg`o`gt bmjpi_g`nn \i_ `mmji`jpn+ \i_ oc` km`\h]g`

ja ^g\dh 7 dn gdhdodib+ ]`^\pn`9 (d) oc` km`\h]g` gdhdo\odji |rdm`g`nn ^jhhpid^\odji ^gd`io jm

`so`indji pido} kmjqd_`n \i \io`^`_`io ]\ndn ajm oc` ]j_t ja ^g\dhn 7+ 01+ \i_ 03; (dd) oc`

km`\h]g` m`^do`n i`^`nn\mt nomp^opm\g gdhdo\odjin ja oc` kpmkjmo`_ diq`iodji ja ^g\dh 7; \i_ (ddd)

oc` k\o`io``•n ^g`\m m`gd\i^` ji oc` km`\h]g` gdhdo\odji |rdm`g`nn ^jhhpid^\odji ^gd`io jm

`so`indji pido} _pmdib kmjn`^podji oj _dnodibpdnc oc` kpmkjmo`_ diq`iodji ^g\dh 7 amjh oc` kmdjm

\mo om\inajmhn oc` km`\h]g` dioj \ ^g\dh gdhdo\odji-




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         345-      >^^jm_dibgt+ oc` Mg\diodaa (ocmjpbc Am- @g\mf) ]`\mn oc` ]pm_`i (rcd^c Am- @g\mf

a\dg`_) oj kmjq` oc\o oc` P0 _`qd^` h``o `\^c \i_ `q`mt gdhdo\odji ja oc` km`\h]g` di jm_`m oj

kmjq` diamdib`h`io ja ^g\dh 7-

                                  (1)     7`( 6ZP`Y AXaX\bT`^`TbTS bWPb bWT jDZc`PZXbg ]Uk
                                          6][^]\T\b @Xab @X[XbPbX]\ 6P\ 5T ATb Qg P GcQaTb ]U
                                          6][^]\T\ba @XabTS X\ bWT 6ZPX[ 2 D`TP[QZT

         346-      Am- @g\mf `mmji`jpngt dio`mkm`o`_ oc\o |oc` ~kgpm\gdot ja• g\ibp\b` ja ^g\dh 7•n

km`\h]g` jigt m`lpdm`n orj jm hjm` ja oc`n` ^jhkji`ion-} Bs- /2 (@g\mf O`kjmo) \o w 410- Am-

@g\mf a\dg`_ oj ^do` \it \pocjmdot jm `qd_`i^` oj npkkjmo cdn dio`mkm`o\odji oc\o oc` |P ^Zc`PZXbg ]U

h`hjmt+ kmj^`nnjmn+ kmjbm\hn+ ^jhhpid^\odji ^dm^pdomt+ \poc`iod^\odji _\o\ - - - N&O P\S iji,

gj^\g ^\ggn _\o\]\n`} gdhdo\odji ja ^g\dh 7 jigt m`lpdm`n \ np]n`o ja oc`n` ^jhkji`ion gdno`_ di oc`

^g\dh km`\h]g`-

         347-      Fi ht jkdidji+ Am- @g\mf•n dio`mkm`o\odji mpin ^jpio`m oj ^jhhji Bibgdnc

bm\hh\m \i_ m`npgon di nom\di`_+ \i_ \rfr\m_ dio`mkm`o\odji- >^^jm_dib oj oc` ^g\nnd^ Bibgdnc

bm\hh\m+ |X\Zi \mod^g` ja \ km`kjndodji \kkgtdib oj \gg oc` h`h]`mn ja oc` n`md`n hpno `doc`m ]`

pn`_ jigt ]`ajm` oc` admno o`mh jm `gn` ]` m`k`\o`_ ]`ajm` `\^c o`mh-} FQQ Pompif & Tcdo`•n GTQ!

8WQXQY_^!ZR!F_dWQ (3oc `_- 1///)- Qc`m`ajm`+ \ km`kjndodji (`-b-+ |\ kgpm\gdot ja}) pn`_ ]`ajm` oc`

admno o`mh ja oc` n`md`n ncjpg_ ]` \kkgd`_ oj `\^c o`mh gdno`_ oc`m`\ao`m- >^^jm_dibgt+ oc`

km`kjndodji |\ kgpm\gdot ja} di oc` ^g\dh g\ibp\b` |P ^Zc`PZXbg ]U h`hjmt+ kmj^`nnjmn+ kmjbm\hn+

^jhhpid^\odji ^dm^pdomt+ \poc`iod^\odji _\o\ - - - N&O P\S iji,gj^\g ^\ggn _\o\]\n`} (Bs- /0 (•578

k\o`io) \o 1494,7) (`hkc\n`n \__`_) ncjpg_ ]` \kkgd`_ oj `\^c ^jhkji`io gdno`_ oc`m`\ao`m- Qc\o

dn+ oc` \]jq` ^g\dh g\ibp\b` ncjpg_ ]` dio`mkm`o`_ \n9 (0) \ kgpm\gdot ja h`hjmt; (1) \ kgpm\gdot ja

kmj^`nnjmn; (2) \ kgpm\gdot ja kmjbm\hn; (3) \ kgpm\gdot ja ^jhhpid^\odji ^dm^pdomt; (4) \ kgpm\gdot

ja \poc`iod^\odji _\o\; \i_ (5) \ kgpm\gdot ja iji,gj^\g ^\ggn _\o\]\n`-

         348-      ?\n`_ ji g`b\g \_qd^` amjh Jjmb\i I`rdn \oojmi`tn ji ^\n` g\r+ F ]`gd`q` ht



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ja!&!&!&!M`_TQY_UOM_UZY!PM_M!^_Z]QP!ZY \ np]n^md]`_ d_`iodat hj_pg` (PFJ) ^\m_ \i_.jm di h`hjmt

\i_ YZY%WZOMW!OMWW^!PM_MNM^Q-} Bs- /2 (@g\mf O`kjmo) \o w 41/ (`hkc\n`n \__`_)- Cdmnogt+ Am-

@g\mf•n m`\_dib ja oc` ^g\dh 7 km`\h]g` dn ijin`ind^\g \i_ c` kmjqd_`_ ijocdib di npkkjmo ja cdn

\gg`b\odji oc\o p@gjp_gdif kmjqd_`n \ |iji,gj^\g ^\ggn _\o\]\n`} m`lpdm`_ ]t ^g\dh 7 ji oc` P0

_`qd^`-

          352-     P`^ji_gt+ Am- @g\mf hdnm`\_ oc` km`\h]g` gdhdo\odji |iji,gj^\g ^\ggn _\o\]\n`} ja

^g\dh 7 \n |\poc`iod^\odji _\o\ nojm`_ ji - - - iji,gj^\g ^\ggn _\o\]\n`-} FQQ!UP- Qcdn dn di^jmm`^o

\i_ dn di^jindno`io rdoc oc` •578 k\o`io nk`^dad^\odji- Kjrc`m` _j`n oc` •578 k\o`io nk`^dad^\odji

_`n^md]`n nojmdib \poc`iod^\odji _\o\ ji iji,gj^\g ^\ggn _\o\]\n`- FQQ!Bs- /0 (•578 k\o`io) \o

03910,13 (|Qc` rdm`g`nn ^jhhpid^\odji ^gd`io 0/5 (jm rdm`g`nn `so`indji pido 0/7) ^_Z]Q^!M_!

WQM^_!M![Z]_UZY!ZR!M`_TQY_UOM_UZY!PM_M!-+(!QU_TQ]!ZY!M!F=A!OM]P!MYP'Z]!UY!XQXZ]d!-)* \n

\poc`iod^\odji diajmh\odji 421-})-

          353-     Fi ht jkdidji+ amjh oc` gdibpdnod^ \i_ o`^cid^\g k`mnk`^odq`+ oc` km`\h]g` ja

^g\dh 7 nc\gg m`\_ \n |NPO eX`TZTaa R][[c\XRPbX]\ RZXT\b ]` TfbT\aX]\ c\Xb R][^`XaX\V P

^Zc`PZXbg ]U h`hjmt+ kmj^`nnjmn+ kmjbm\hn+ ^jhhpid^\odji ^dm^pdomt+ \poc`iod^\odji _\o\ nojm`_

ji \ np]n^md]`_ d_`iodat hj_pg` (PFJ) ^\m_ \i_.jm di h`hjmtN&O P\S \]\'Z]RPZ RPZZa SPbPQPaT -

- -} rc`m`\n oc` |iji,gj^\g ^\ggn _\o\]\n`} dn ji` ja oc` m`^do`_ nomp^opm\g ^jhkji`ion ja oc`

rdm`g`nn ^jhhpid^\odji ^gd`io jm `so`indji pido+ m\oc`m oc\i \ kg\^` oj nojm` oc` m`^do`_

|\poc`iod^\odji _\o\-} Jt m`\_dib ja oc` km`\h]g` dn ^jindno`io rdoc oc` •578 k\o`io nk`^dad^\odji

_dn^gjndib oc` iji,gj^\g ^\ggn _\o\]\n` nojmdib |q\mdjpn gj^\odjin+ ^jmm`nkji_dib \m`\ ^j_`n+ \i_

^jmm`nkji_dib gj^\g _d\g,di o`g`kcji` iph]`mn+} \i_ ijrc`m` _j`n oc` nk`^dad^\odji _dn^gjn`

nojmdib \poc`iod^\odji _\o\ di oc` iji,gj^\g ^\ggn _\o\]\n`- Am- @g\mf•n m`\_dib ja oc` ^g\dh 7

km`\h]g` dn ijo o`^cid^\ggt njpi_- Bs- /0 (•578 k\o`io) \o 04946,50 (|Qc` iji,gj^\g ^\ggn




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_\o\]\n` 414 gdnon q\mdjpn gj^\odjin+ ^jmm`nkji_dib \m`\ ^j_`n+ \i_ ^jmm`nkji_dib gj^\g _d\g,di

o`g`kcji` iph]`mn ajm pn` rc`i oc` np]n^md]`m r\ion oj h\f` \ iji,gj^\g ^\gg rc`i km`n`io \o \

k\mod^pg\m gj^\odji-})-

         354-      Am- @g\mf a\dg`_ oj kmjqd_` `qd_`i^` oc\o oc` P0 _`qd^` ^jio\din oc` |iji,gj^\g

^\ggn _\o\]\n`} \n m`lpdm`_ ]t ^g\dh 7- Pdi^` oc` P0 _`qd^` _j`n ijo kmjqd_` ^`ggpg\m qjd^`

n`mqd^`n pndib oc` @gjp_ PFJ \i_ oc`m`ajm` _j ijo i``_ oc` |iji,gj^\g ^\ggn _\o\]\n`} \n

m`lpdm`_ ]t ^g\dh 7- >n `qd_`i^`_ ji oc` r`]ndo`n (`-b-+

cookn9..rrr-bgj^\gh`-^jh._\o\[k\^f\b`=g\ib<`i,RP&bdnj<FK;

cookn9..rrr-\h\uji-^jh.n.m`a<i][n][ijnn[1=pmg<n`\m^c,\gd\n%2A\kn&ad`g_,

f`trjm_n<Dgj^\gJ`) n`ggdib P0 _`qd^`n+ oc` P0 _`qd^`n kmjqd_` ZYWd _\o\ n`mqd^`n pndib @gjp_

PFJ \i_ c\n YZ joc`m ^jhhpid^\odji n`mqd^`n gdf` PJP \i_ ^`ggpg\m qjd^` n`mqd^`n-




         355-      Fi ht jkdidji+ oc`m` dn \hkg` `qd_`i^` oc\o oc` P0 _`qd^` _j`n ijo di^gp_` \ iji,

gj^\g ^\ggn _\o\]\n`+ \n _`n^md]`_ di Cdbpm` 4? (m`kmj_p^`_ ]`gjr) \i_ oc` nk`^dad^\odji ja

oc` •578 k\o`io- P`` Bs- /0 (•578 k\o`io) \o 04946,50 (|Qc` iji,gj^\g ^\ggn _\o\]\n` 414 gdnon

q\mdjpn gj^\odjin+ ^jmm`nkji_dib \m`\ ^j_`n+ \i_ OZ]]Q^[ZYPUYS!WZOMW!PUMW%UY!_QWQ[TZYQ!Y`XNQ]^

ajm pn` rc`i oc` np]n^md]`m r\ion oj XMVQ!M!YZY%WZOMW!OMWW rc`i km`n`io \o \ k\mod^pg\m

gj^\odji-}) (`hkc\n`n \__`_)-




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                                                          Bs- 25 (R@ILRAIFKH/27348/)-

         5/-




                   ,(     ;, K]`Y 9Z]e)C^T`PbX]\ A]STZ U]` FTVcZP` IaT`a

         51-       Qc` Dgj^\gJ` _`qd^`n (di^gp_dib oc` D1+ D2+ \i_ R1 _`qd^`n)




         52-




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                   -(    ;, K]`Y 9Z]e)C^T`PbX]\ A]STZ U]` FT\bPZ P\S 6]\b`PRb IaT`a

         57-       Qc` Dgj^\gJ` _`qd^`n ajm m`io\g dn ]m\i_`_ \n |OL>JFKD J>K-} >gnj+ oc`m`



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\m` Dgj^\gJ` _`qd^`n ajm ^jiom\^o pn`mn- Qc` m`io\g \i_ ^jiom\^o Dgj^\gJ` _`qd^`n rjmf di \

r\t _daa`m`io amjh oc` _`qd^`n ajm m`bpg\m pn`mn- Cjm `s\hkg`+ ji` ja oc` a`\opm`n _dnodibpdncdib

oc` m`io\g \i_ ^jiom\^o Dgj^\gJ` _`qd^`n amjh oc` m`bpg\m Dgj^\gJ` _`qd^`n dn oc\o ij

m`bdnom\odji ijm gjbdi no`kn \m` i`^`nn\mt \o \it no\b` ja pndib oc` m`io\g jm ^jiom\^o Dgj^\gJ`

_`qd^`n- Fino`\_+ \ pn`m ndhkgt opmin ji \ m`io\g jm ^jiom\^o Dgj^\gJ` _`qd^` oj kmjqd_` \ Td,Cd

cjonkjo n`mqd^` rdocjpo apmoc`m ^jiadbpm\odji ji oc` Dgj^\gJ` _`qd^`- >i_ oc`i Z_TQ] ^gd`io

_`qd^`(n) (np^c \n g\kojkn+ o\]g`on jm nh\mokcji`n) ^\i pn` oc` Td,Cd cjonkjo n`mqd^`-

Pk`^dad^\ggt+ ZY!Z_TQ]!OWUQY_!PQaUOQ"^#+ oc` pn`m ^\i n`g`^o oc` i\h` ja oc` Td,Cd cjonkjo \i_

`io`mn \!JU%9U k\nnrjm_ oj ^jii`^o oj oc` m`io\g jm ^jiom\^o Dgj^\gJ` _`qd^`- Bs- 30

(OL>JFKD J>K T`]ndo` , cjh`k\b`) \q\dg\]g` \o cookn9..rrr-OL>JFKD J>K-^jh.#

(m`kmj_p^`_ ]`gjr); MW^Z!^QQ Bs- 31 (OL>JFKD J>K T`]ndo` , Ppkkjmo) \q\dg\]g` \o

cookn9..rrr-OL>JFKD J>K-^jh.npkkjmo (|Aj F c\q` oj ^jiadbpm` \itocdib ]`ajm`

^jii`^odib ht _`qd^` oj OL>JFKD J>K= Kj ^jiadbpm\odji dn i`^`nn\mt-})-




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Bs- 30 (Po\modib ?\o`n Kj- R@ILRAIFKH/274371 , OL>JFKD J>K T`]ndo` , cjh`k\b`)

\q\dg\]g` \o cookn9..rrr-OL>JFKD J>K-^jh.#-

         5(        HWT ;- 7TdXRT

                   +(     ;- 6][^]\T\ba

         58-       Qc` D2 _`qd^` dn \gnj \ hj]dg` Td,Cd Ejonkjo _`q`gjk`_ ]t p@gjp_gdif- Fo dn \

gdbco,r`dbco cjonkjo _`qd^` oc\o ^\i ^jii`^o oj 3D IQB cdbc nk``_ i`orjmf-




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                   ,(     ;- K]`Y 9Z]e)C^T`PbX]\ A]STZ

         60-       Qc` D2 _`qd^`n ajm m`bpg\m pn`mn+ m`io\g pn`mn+ \i_ ^jiom\^o pn`mn rjmf di oc` n\h`

r\t \n oc` Dgj^\gJ` D1 _`qd^`n ajm m`bpg\m pn`mn+ m`io\g pn`mn+ \i_ ^jiom\^o pn`mn+ m`nk`^odq`gt-

Mg`\n` m`a`m oj P`^odji SFF->-1 \i_ 2-

         6(        HWT I, 7TdXRT

         61-       Qc` R1 _`qd^` dn \ hj]dg` Td,Cd Ejonkjo _`q`gjk`_ ]t p@gjp_gdif- Fo dn \ gdbco

r`dbco cjonkjo _`qd^` oc\o ^\i ^jii`^o oj 3D IQB cdbc nk``_ i`orjmf-

                   +(     6][^]\T\ba




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                   ,(     I, K]`Y 9Z]e)C^T`PbX]\ A]STZ

         63-       Qc` R1 _`qd^`n ajm m`bpg\m pn`mn+ m`io\g pn`mn+ \i_ ^jiom\^o pn`mn rjmf di oc` n\h`

r\t \n oc` D1 _`qd^`n `s^`ko oc\o oc` R1 _`qd^` _j`n ijo c\q` \it dikpo dio`ma\^` np^c \n

bm\kcd^\g pn`m dio`ma\^` np^c \n \ ojp^c n^m``i oj `io`m \it diajmh\odji np^c \n \ pn`m \^^jpio FA

jm k\nnrjm_- Bs- 35 (PFJL[/061644,R1 \h\uji)- Mg`\n` m`a`m oj P`^odji SFF->-1 \i_ 2-

         7(        HWT G+ 7TdXRT

         64-       Dgj^\gJ` P0 dn \ nh\mokcji` oc\o dn \gnj njh`odh`n m`a`mm`_ oj \n \ |rjmg_

kcji`-} Fo jaa`mn dio`mi\odji\g _\o\ mj\hdib n`mqd^` di \ ndhdg\m r\t \n oc` Dgj^\gJ` _`qd^`n

`skg\di`_ \]jq`-

                   +(     G+ 6][^]\T\ba




A?0. 0/0715742-2                                  ,14,
         Case 1:18-cv-05427-JSR Document 97-4 Filed 03/19/19 Page 30 of 49




                   ,(     G+ K]`Y 9Z]e)C^T`PbX]\ A]STZ

         67-       ?`gjr F rdgg r\gf ocmjpbc cjr dio`mi\odji\g _\o\ mj\hdib api^odji ja oc` P0

_`qd^` rjmfn no`k ]t no`k-




A?0. 0/0715742-2                                 ,15,
         Case 1:18-cv-05427-JSR Document 97-4 Filed 03/19/19 Page 31 of 49




A?0. 0/0715742-2                       ,16,
         Case 1:18-cv-05427-JSR Document 97-4 Filed 03/19/19 Page 32 of 49




A?0. 0/0715742-2                       ,17,
         Case 1:18-cv-05427-JSR Document 97-4 Filed 03/19/19 Page 33 of 49




J===( F85IHH4@ HC K8@6< F8DCFH F8;4F7=B; GCIF68 6C78

         73-       F c\q` m`qd`r`_ T`g^c O`kjmo m`b\m_dib Jm- T`g^c•n dio`mkm`o\odji ja

p@gjp_gdif njpm^` ^j_` m`g\o`_ oj oc` >^^pn`_ Mmj_p^on- F kmjqd_` ht m`]poo\g njh` ja cdn

dio`mkm`o\odjin+ \n n`o ajmoc ]`gjr-

         4(        ;- G]c`RT 6]ST KPZYbW`]cVW




A?0. 0/0715742-2                                 ,18,
         Case 1:18-cv-05427-JSR Document 97-4 Filed 03/19/19 Page 34 of 49




         141-      P`^ji_+ i`doc`m Am- @g\mf ijm Jm- T`g^c




                                                  } FQQ Bs- /2 (@g\mf O`kjmo) \o w 128



                                                                   - ?po Jm- T`g^c a\dg`_ oj kmjqd_`

np^c npkkjmo-

         142-      Qmpgt+ pkji m`qd`rdib oc` ^do`_ n`^odjin ja T`g^c Bsk`mo O`kjmo+ F ^jpg_ ijo adi_

Jm- T`g^c kmjqd_`_ \it np]no\iod\g diajmh\odji- Jm- T`g^c a\dg`_




A?0. 0/0715742-2                                 ,0/0,
         Case 1:18-cv-05427-JSR Document 97-4 Filed 03/19/19 Page 35 of 49




Bs- 16 (R@I,P@///5/2/,5130+                                  ) \o gdi`n 7316,7413-

         143-      Qc`m`ajm`+ Am- @g\mf \i_ Jm- T`g^c a\dg`_ oj kmjq` oc\o oc` D1 _`qd^` h``on oc`

Bg`h`io 03X\Z gdhdo\odji ja ^g\dh 03- Jjm` dhkjmo\iogt+ \n ncjri di oc` m`g`q\io njpm^` ^j_` F

_dn^pnn`_ \]jq`+ oc` D1 _`qd^`




A?0. 0/0715742-2                                 ,0/1,
         Case 1:18-cv-05427-JSR Document 97-4 Filed 03/19/19 Page 36 of 49




         6(        7`( 6ZP`Y 9PXZTS b] D`]dT =\U`X\VT[T\b Qg ;-

                   +(     7`( 6ZP`Y 9PXZTS b] D`]dT =\U`X\VT[T\b ]U 6ZPX[ 2 Qg ;-

                         P(      8ZT[T\b 2ND`TO

|4!bU]QWQ^^!OZXX`YUOM_UZY!OWUQY_!Z]!Qc_QY^UZY!`YU_!OZX[]U^UYS!M![W`]MWU_d!ZR!XQXZ]d$!
[]ZOQ^^Z]^$![]ZS]MX^$!OZXX`YUOM_UZY!OU]O`U_]d$!M`_TQY_UOM_UZY!PM_M!^_Z]QP!ZY!M!^`N^O]UNQP!
UPQY_URd!XZP`WQ!"F=A#!OM]P!MYP'Z]!UY!XQXZ]d!MYP!YZY%WZOMW!OMWW^!PM_MNM^Q$!M_!WQM^_!ZYQ!ZR!_TQ!
[W`]MWU_d!ZR![]ZS]MX^!^_Z]QP!UY!_TQ!XQXZ]d!OZX[]U^Q^!UY^_]`O_UZY^!QcQO`_MNWQ!Nd!M_!WQM^_!ZYQ!ZR!
_TQ![W`]MWU_d!ZR![]ZOQ^^Z]^!RZ]}

         144-      Am- @g\mf a\dg`_ oj kmjq` oc\o oc` D2 _`qd^` h``on \gg gdhdo\odjin ja oc` km`\h]g`

ja ^g\dh 7-

                                  (0)    HWT D`TP[QZT ]U 6ZPX[ 2 =a @X[XbX\V

         145-      Am- @g\mf `mmji`jpngt \mbp`_ oc\o |oc` km`\h]g` ja ^g\dh 7 dn ijo \ gdhdo\odji-} Bs-

/2 (@g\mf O`kjmo) \o w 153- Am- @g\mf a\dg`_ oj kmjqd_` \it `qd_`i^` jm njgd_ m`\njidib oc\o oc`

km`\h]g` ja ^g\dh 7 dn ijo gdhdodib- Edn ^pmnjmt ^ji^gpndji |i`doc`m k\mot m`lp`no`_ oc\o oc`

km`\h]g` ]` ^jinomp`_ \n gdhdodib} jigt m`gd`_ ji oc` \gg`b`_ a\^o oc\o |XiZ`doc`m Mg\diodaa ijm

A`a`i_\io di^gp_`_ oc` km`\h]g` ja ^g\dh 7 \n \ _dnkpo`_ ^g\dh o`mh-} =P&!M_!w 131& ?t _jdib nj

Am- @g\mf \nnph`n oc\o oc` km`\h]g` ja ^g\dh 7 dn ]t _`a\pgo ijo gdhdodib- >n apggt `skg\di`_ di

P`^odji FU-?-0-\-(0)+ Am- @g\mf•n \nnphkodji dn ^jhkg`o`gt bmjpi_g`nn \i_ `mmji`jpn+ \i_ oc`

km`\h]g` ja ^g\dh 7 dn gdhdodib+ ]`^\pn`9 (d) oc` km`\h]g` gdhdo\odji |rdm`g`nn ^jhhpid^\odji

^gd`io jm `so`indji pido} kmjqd_`n \i \io`^`_`io ]\ndn ajm oc` ]j_t ja ^g\dhn 7+ 01+ \i_ 03; (dd)

oc` km`\h]g` m`^do`n i`^`nn\mt nomp^opm\g gdhdo\odjin ja oc` kpmkjmo`_ diq`iodji ja ^g\dh 7; \i_

(ddd) oc` k\o`io``•n ^g`\m m`gd\i^` ji oc` km`\h]g` gdhdo\odji |rdm`g`nn ^jhhpid^\odji ^gd`io jm

`so`indji pido} _pmdib kmjn`^podji oj _dnodibpdnc oc` kpmkjmo`_ diq`iodji ^g\dh 7 amjh oc` kmdjm

\mo om\inajmhn oc` km`\h]g` dioj \ ^g\dh gdhdo\odji-

         146-      >^^jm_dibgt+ Mg\diodaa (ocmjpbc Am- @g\mf) ]`\mn oc` ]pm_`i (rcd^c Am- @g\mf




A?0. 0/0715742-2                                  ,0/2,
         Case 1:18-cv-05427-JSR Document 97-4 Filed 03/19/19 Page 37 of 49




a\dg`_) oj kmjq` oc\o oc` D2 _`qd^` h``o `\^c \i_ `q`mt gdhdo\odji ja oc` km`\h]g` di jm_`m oj

kmjq` diamdib`h`io ja ^g\dh 7-

                                  (1)     7`( 6ZP`Y AXaX\bT`^`TbTS bWPb bWT jDZc`PZXbg ]Uk
                                          6][^]\T\b @Xab @X[XbPbX]\ 6P\ 5T ATb Qg P GcQaTb ]U
                                          6][^]\T\ba @XabTS X\ bWT 6ZPX[ 2 D`TP[QZT(

         147-      Am- @g\mf `mmji`jpngt dio`mkm`o`_ oc\o |oc` ~kgpm\gdot ja• g\ibp\b` ja ^g\dh 7•n

km`\h]g` jigt m`lpdm`n orj jm hjm` ja oc`n` ^jhkji`ion-} Bs- /2 (@g\mf O`kjmo) \o w 137- Am-

@g\mf a\dg`_ oj ^do` \it \pocjmdot jm `qd_`i^` oj npkkjmo cdn dio`mkm`o\odji oc\o oc` |P ^Zc`PZXbg ]U

h`hjmt+ kmj^`nnjmn+ kmjbm\hn+ ^jhhpid^\odji ^dm^pdomt+ \poc`iod^\odji _\o\ - - - N&O P\S iji,

gj^\g ^\ggn _\o\]\n`} gdhdo\odji ja ^g\dh 7 jigt m`lpdm`n \ np]n`o ja oc`n` ^jhkji`ion gdno`_ di oc`

^g\dh km`\h]g`-

         148-      Fi ht jkdidji+ Am- @g\mf•n dio`mkm`o\odji mpin ^jpio`m oj ^jhhji Bibgdnc

bm\hh\m \i_ m`npgon di nom\di`_+ \i_ \rfr\m_ dio`mkm`o\odji- >^^jm_dib oj oc` ^g\nnd^ Bibgdnc

bm\hh\m+ |X\Zi \mod^g` ja \ km`kjndodji \kkgtdib oj \gg oc` h`h]`mn ja oc` n`md`n hpno `doc`m ]`

pn`_ jigt ]`ajm` oc` admno o`mh jm `gn` ]` m`k`\o`_ ]`ajm` `\^c o`mh-} FQQ Pompif & Tcdo`•n GTQ!

8WQXQY_^!ZR!F_dWQ (3oc `_- 1///)- Qc`m`ajm`+ \ km`kjndodji (`-b-+ |\ kgpm\gdot ja}) pn`_ ]`ajm` oc`

admno o`mh ja oc` n`md`n ncjpg_ ]` \kkgd`_ oj `\^c o`mh gdno`_ oc`m`\ao`m- >^^jm_dibgt+ oc`

km`kjndodji |\ kgpm\gdot ja} di oc` ^g\dh g\ibp\b` |P ^Zc`PZXbg ]U h`hjmt+ kmj^`nnjmn+ kmjbm\hn+

^jhhpid^\odji ^dm^pdomt+ \poc`iod^\odji _\o\ - - - N&O P\S iji,gj^\g ^\ggn _\o\]\n`} (Bs- /0 (•578

k\o`io) \o 1494,7) (`hkc\n`n \__`_) ncjpg_ ]` \kkgd`_ oj `\^c ^jhkji`io gdno`_ oc`m`\ao`m- Qc\o

dn+ di ht jkdidji+ oc` \]jq` ^g\dh g\ibp\b` ncjpg_ ]` dio`mkm`o`_ \n9 (0) \ kgpm\gdot ja h`hjmt;

(1) \ kgpm\gdot ja kmj^`nnjmn; (2) \ kgpm\gdot ja kmjbm\hn; (3) \ kgpm\gdot ja ^jhhpid^\odji

^dm^pdomt; (4) \ kgpm\gdot ja \poc`iod^\odji _\o\; \i_ (5) \ kgpm\gdot ja iji,gj^\g ^\ggn _\o\]\n`-

         15/-      ?\n`_ ji g`b\g \_qd^` amjh Jjmb\i I`rdn \oojmi`tn ji ^\n` g\r+ F ]`gd`q` ht

jkdidji dn ^jindno`io rdoc g\rn- Qc` \]jq` bm\hh\od^\g kmdi^dkg` r\n ^do`_ ]t oc` Rido`_ Po\o`n



A?0. 0/0715742-2                                  ,0/3,
         Case 1:18-cv-05427-JSR Document 97-4 Filed 03/19/19 Page 38 of 49




di^gp_`n |\ pidlp` np]n^md]`m d_`iodad`m} \n m`lpdm`_ ]t ^g\dh 03-

         24/-      P`^ji_+ i`doc`m Am- @g\mf ijm Jm- T`g^c




         240-      Qmpgt+ pkji m`qd`rdib oc` ^do`_ n`^odjin ja T`g^c Bsk`mo O`kjmo+ F ^jpg_ ijo adi_

Jm- T`g^c kmjqd_`_ \it np]no\iod\g diajmh\odji- Jm- T`g^c ndhkgt




A?0. 0/0715742-2                                 ,037,
         Case 1:18-cv-05427-JSR Document 97-4 Filed 03/19/19 Page 39 of 49




Bs- 17 (R@I,P@////836,0042+                                   ) \o gdi`n 7363,7460-

         241-      Qc`m`ajm`+ Am- @g\mf \i_ Jm- T`g^c a\dg`_ oj kmjq` oc\o oc` D2 _`qd^` h``on oc`

Bg`h`io 03X\Z gdhdo\odji ja ^g\dh 03- Jjm` dhkjmo\iogt+ \n ncjri di oc` m`g`q\io njpm^` ^j_` F

_dn^pnn`_ \]jq`+ oc` D2 _`qd^` \^




A?0. 0/0715742-2                                 ,038,
         Case 1:18-cv-05427-JSR Document 97-4 Filed 03/19/19 Page 40 of 49




         7(        7`( 6ZP`Y 9PXZTS b] D`]dT =\U`X\VT[T\b Qg I,

                   +(     7`( 6ZP`Y 9PXZTS b] D`]dT =\U`X\VT[T\b ]U 6ZPX[ 2 Qg I,

                         P(      8ZT[T\b 2ND`TO

|4!bU]QWQ^^!OZXX`YUOM_UZY!OWUQY_!Z]!Qc_QY^UZY!`YU_!OZX[]U^UYS!M![W`]MWU_d!ZR!XQXZ]d$!
[]ZOQ^^Z]^$![]ZS]MX^$!OZXX`YUOM_UZY!OU]O`U_]d$!M`_TQY_UOM_UZY!PM_M!^_Z]QP!ZY!M!^`N^O]UNQP!
UPQY_URd!XZP`WQ!"F=A#!OM]P!MYP'Z]!UY!XQXZ]d!MYP!YZY%WZOMW!OMWW^!PM_MNM^Q$!M_!WQM^_!ZYQ!ZR!_TQ!
[W`]MWU_d!ZR![]ZS]MX^!^_Z]QP!UY!_TQ!XQXZ]d!OZX[]U^Q^!UY^_]`O_UZY^!QcQO`_MNWQ!Nd!M_!WQM^_!ZYQ!ZR!
_TQ![W`]MWU_d!ZR![]ZOQ^^Z]^!RZ]}

         242-      Am- @g\mf a\dg`_ oj kmjq` oc\o oc` R1 _`qd^` h``on \gg gdhdo\odjin ja oc` km`\h]g`

ja ^g\dh 7-

                                  (0)    HWT D`TP[QZT ]U 6ZPX[ 2 =a @X[XbX\V

         243-      Am- @g\mf `mmji`jpngt \mbp`_ oc\o |XoZc` km`\h]g` ja ^g\dh 7 dn ijo \ gdhdo\odji-}

Bs- /2 (@g\mf O`kjmo) \o w 271- Am- @g\mf a\dg`_ oj kmjqd_` \it `qd_`i^` jm njgd_ m`\njidib oc\o

oc` km`\h]g` ja ^g\dh 7 dn ijo gdhdodib- Edn ^pmnjmt ^ji^gpndji |i`doc`m k\mot m`lp`no`_ oc\o oc`

km`\h]g` ]` ^jinomp`_ \n gdhdodib} jigt m`gd`_ ji oc` \gg`b`_ a\^o oc\o |XiZ`doc`m Mg\diodaa ijm

A`a`i_\io di^gp_`_ oc` km`\h]g` ja ^g\dh 7 \n \ _dnkpo`_ ^g\dh o`mh-} =P& ?t _jdib nj Am- @g\mf

\nnph`n oc\o oc` km`\h]g` ja ^g\dh 7 dn ]t _`a\pgo ijo gdhdodib- >n apggt `skg\di`_ di P`^odji

FU-?-0-\-(0)+ Am- @g\mf•n \nnphkodji dn ^jhkg`o`gt bmjpi_g`nn \i_ `mmji`jpn+ \i_ oc` km`\h]g`

ja ^g\dh 7 dn gdhdodib+ ]`^\pn`9 (d) oc` km`\h]g` gdhdo\odji |rdm`g`nn ^jhhpid^\odji ^gd`io jm

`so`indji pido} kmjqd_`n \i \io`^`_`io ]\ndn ajm oc` ]j_t ja ^g\dhn 7+ 01+ \i_ 03; (dd) oc`

km`\h]g` m`^do`n i`^`nn\mt nomp^opm\g gdhdo\odjin ja oc` kpmkjmo`_ diq`iodji ja ^g\dh 7; \i_ (ddd)

oc` k\o`io``•n ^g`\m m`gd\i^` ji oc` km`\h]g` gdhdo\odji |rdm`g`nn ^jhhpid^\odji ^gd`io jm

`so`indji pido} _pmdib kmjn`^podji oj _dnodibpdnc oc` kpmkjmo`_ diq`iodji ^g\dh 7 amjh oc` kmdjm

\mo om\inajmhn oc` km`\h]g` dioj \ ^g\dh gdhdo\odji-

         244-      >^^jm_dibgt+ Mg\diodaa (ocmjpbc Am- @g\mf) ]`\mn oc` ]pm_`i (rcd^c Am- @g\mf

a\dg`_) oj kmjq` oc\o oc` R1 _`qd^` h``o `\^c \i_ `q`mt gdhdo\odji ja oc` km`\h]g` di jm_`m oj




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kmjq` diamdib`h`io ja ^g\dh 7-

                                  (1)     7`( 6ZP`Y AXaX\bT`^`TbTS bWPb bWT jDZc`PZXbg ]Uk
                                          6][^]\T\b @Xab @X[XbPbX]\ 6P\ 5T ATb Qg P GcQaTb ]U
                                          6][^]\T\ba @XabTS X\ bWT 6ZPX[ 2 D`TP[QZT

         245-      Am- @g\mf `mmji`jpngt dio`mkm`o`_ oc\o |oc` ~kgpm\gdot ja• g\ibp\b` ja ^g\dh 7•n

km`\h]g` jigt m`lpdm`n orj jm hjm` ja oc`n` ^jhkji`ion-} Bs- /2 (@g\mf O`kjmo) \o w 277- Am-

@g\mf a\dg`_ oj ^do` \it \pocjmdot jm `qd_`i^` oj npkkjmo cdn dio`mkm`o\odji oc\o oc` |P ^Zc`PZXbg ]U

h`hjmt+ kmj^`nnjmn+ kmjbm\hn+ ^jhhpid^\odji ^dm^pdomt+ \poc`iod^\odji _\o\ - - - N&O P\S iji,

gj^\g ^\ggn _\o\]\n`} gdhdo\odji ja ^g\dh 7 jigt m`lpdm`n \ np]n`o ja oc`n` ^jhkji`ion gdno`_ di oc`

^g\dh km`\h]g`-

         246-      Fi ht jkdidji+ Am- @g\mf•n dio`mkm`o\odji mpin ^jpio`m oj ^jhhji Bibgdnc

bm\hh\m \i_ m`npgon di nom\di`_+ \i_ \rfr\m_ dio`mkm`o\odji- >^^jm_dib oj oc` ^g\nnd^ Bibgdnc

bm\hh\m+ |X\Zi \mod^g` ja \ km`kjndodji \kkgtdib oj \gg oc` h`h]`mn ja oc` n`md`n hpno `doc`m ]`

pn`_ jigt ]`ajm` oc` admno o`mh jm `gn` ]` m`k`\o`_ ]`ajm` `\^c o`mh-} FQQ Pompif & Tcdo`•n GTQ!

8WQXQY_^!ZR!F_dWQ (3oc `_- 1///)- Qc`m`ajm`+ \ km`kjndodji (`-b-+ |\ kgpm\gdot ja}) pn`_ ]`ajm` oc`

admno o`mh ja oc` n`md`n ncjpg_ ]` \kkgd`_ oj `\^c o`mh gdno`_ oc`m`\ao`m- >^^jm_dibgt+ oc`

km`kjndodji |\ kgpm\gdot ja} di oc` ^g\dh g\ibp\b` |P ^Zc`PZXbg ]U h`hjmt+ kmj^`nnjmn+ kmjbm\hn+

^jhhpid^\odji ^dm^pdomt+ \poc`iod^\odji _\o\ - - - N&O P\S iji,gj^\g ^\ggn _\o\]\n`} (Bs- /0 (•578

k\o`io) \o 1494,7) (`hkc\n`n \__`_) ncjpg_ ]` \kkgd`_ oj `\^c ^jhkji`io gdno`_ oc`m`\ao`m- Qc\o

dn+ di ht jkdidji+ oc` \]jq` ^g\dh g\ibp\b` ncjpg_ ]` dio`mkm`o`_ \n9 (0) \ kgpm\gdot ja h`hjmt;

(1) \ kgpm\gdot ja kmj^`nnjmn; (2) \ kgpm\gdot ja kmjbm\hn; (3) \ kgpm\gdot ja ^jhhpid^\odji

^dm^pdomt; (4) \ kgpm\gdot ja \poc`iod^\odji _\o\; \i_ (5) \ kgpm\gdot ja iji,gj^\g ^\ggn _\o\]\n`-

         247-      ?\n`_ ji g`b\g \_qd^` amjh Jjmb\i I`rdn \oojmi`tn ji ^\n` g\r+ F ]`gd`q` ht

jkdidji dn ^jindno`io rdoc g\rn- Qc` \]jq` bm\hh\od^\g kmdi^dkg` r\n ^do`_ ]t oc` Rido`_ Po\o`n

@jpmo ja >kk`\gn ajm oc` C`_`m\g @dm^pdo di F`[Q]S`UPQ!6Z][&!a&!7U]QOGI!8Y_Q][]U^Q^$!=YO&!FQQ



A?0. 0/0715742-2                                  ,040,
         Case 1:18-cv-05427-JSR Document 97-4 Filed 03/19/19 Page 42 of 49




Bs- 18 (R@I,P@///77//,8/14+                             ) \o 7813+ gdi`n 7372,747/-

         3/2-      Am- @g\mf m`gd`_ ji T`g^c O`kjmo




A?0. 0/0715742-2                                ,063,
         Case 1:18-cv-05427-JSR Document 97-4 Filed 03/19/19 Page 43 of 49




         3/3-      Fi \__dodji+ Am- @g\mf \nn`mo`_ oc\o |A`a`i_\ion• rdoi`nn




         3/4-      Qc`m`ajm`+ Am- @g\mf \i_ Jm- T`g^c a\dg`_ oj kmjq` oc\o oc` R1 _`qd^` |m`g\tXnZ

oc` gj^\g \poc`iod^\odji diajmh\odji m`lp`no oj oc` m`hjo` \_hdidnom\odji ntno`h qd\ oc` _\o\

^jhhpid^\odji gdif} ja ^g\dh 0/+ ]`^\pn`



                                  (1)        7`( 6ZP`Y 9PXZTS b] D`]dT bWT I, 7TdXRT ATTba bWT
                                             j]QbPX\X\V acXbPQZT Z]RPZ PcbWT\bXRPbX]\ X\U]`[PbX]\k
                                             @X[XbPbX]\ ]U 6ZPX[ 2

         3/5-      Am- @g\mf \nn`mo`_ oc\o




A?0. 0/0715742-2                                    ,064,
         Case 1:18-cv-05427-JSR Document 97-4 Filed 03/19/19 Page 44 of 49




Bs- 2/ (?\o`n Kj- R@I,P@///7340,4/4) \o gdi`n 2/31,2/80 (`hkc\n`n \__`_)-

         34/-      Qc`m`ajm`+ Jm- T`g^c _d_ ijo npkkjmo+ di a\^o i`b\o`_+ Am- @g\mf•n \gg`b\odji oc\o

oc` gj^\g \poc`iod^\odji diajmh\odji m`lp`no ajm \poc`iod^\odji diajmh\odji ja oc` R1 _`qd^`

di^gp_`n |\ pidlp` np]n^md]`m d_`iodad`m} \n m`lpdm`_ ]t ^g\dh 03

         340-      P`^ji_+ i`doc`m Am- @g\mf ijm Jm- T`g^c ^do`_ \it njpm^` ^j_`




         341-      Qmpgt+ pkji m`qd`rdib oc` ^do`_ n`^odjin ja T`g^c Bsk`mo O`kjmo+ F ^jpg_ ijo adi_

Jm- T`g^c kmjqd_`_ \it np]no\iod\g diajmh\odji- Jm- T`g^c




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Bs- 18 (R@I,P@///77//,8/14+                                   \o gdi`n 7372,747/-

         342-      Qc`m`ajm`+ Am- @g\mf \i_ Jm- T`g^c a\dg`_ oj kmjq` oc\o oc` R1 _`qd^` h``on oc`



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Bg`h`io 03X\Z gdhdo\odji ja ^g\dh 03- Jjm` dhkjmo\iogt+ \n ncjri di oc` m`g`q\io njpm^` ^j_` F

_dn^pnn`_ \]jq`+ oc` R1 _`qd^`



         8(        7`( 6ZP`Y 9PXZTS b] D`]dT =\U`X\VT[T\b Qg G+

                   +(     7`( 6ZP`Y 9PXZTS b] D`]dT =\U`X\VT[T\b ]U 6ZPX[ 2 Qg G+

                         P(      8ZT[T\b 2ND`TO

g4!bU]QWQ^^!OZXX`YUOM_UZY!OWUQY_!Z]!Qc_QY^UZY!`YU_!OZX[]U^UYS!M![W`]MWU_d!ZR!XQXZ]d$!
[]ZOQ^^Z]^$![]ZS]MX^$!OZXX`YUOM_UZY!OU]O`U_]d$!M`_TQY_UOM_UZY!PM_M!^_Z]QP!ZY!M!^`N^O]UNQP!
UPQY_URd!XZP`WQ!"F=A#!OM]P!MYP'Z]!UY!XQXZ]d!MYP!YZY%WZOMW!OMWW^!PM_MNM^Q$!M_!WQM^_!ZYQ!ZR!_TQ!
[W`]MWU_d!ZR![]ZS]MX^!^_Z]QP!UY!_TQ!XQXZ]d!OZX[]U^Q^!UY^_]`O_UZY^!QcQO`_MNWQ!Nd!M_!WQM^_!ZYQ!ZR!
_TQ![W`]MWU_d!ZR![]ZOQ^^Z]^!RZ]h

         343-      Am- @g\mf a\dg`_ oj kmjqd_` P0 h``on \gg gdhdo\odjin ja oc` km`\h]g` ja ^g\dh 7-

                                  (0)    HWT D`TP[QZT ]U 6ZPX[ 2 =a @X[XbX\V

         344-      Am- @g\mf `mmji`jpngt \mbp`_ oc\o |XoZc` km`\h]g` ja ^g\dh 7 dn ijo \ gdhdo\odji-}

Bs- /2 (@g\mf O`kjmo) \o w 408- Am- @g\mf a\dg`_ oj kmjqd_` \it `qd_`i^` jm njgd_ m`\njidib oc\o

oc` km`\h]g` ja ^g\dh 7 dn ijo gdhdodib- Edn ^pmnjmt ^ji^gpndji |i`doc`m k\mot m`lp`no`_ oc\o oc`

km`\h]g` ]` ^jinomp`_ \n gdhdodib} jigt m`gd`_ ji oc` \gg`b`_ a\^o oc\o |XiZ`doc`m Mg\diodaa ijm

A`a`i_\io di^gp_`_ oc` km`\h]g` ja ^g\dh 7 \n \ _dnkpo`_ ^g\dh o`mh-} =P& ?t _jdib nj Am- @g\mf

\nnph`n oc\o oc` km`\h]g` ja ^g\dh 7 dn ]t _`a\pgo ijo gdhdodib- >n apggt `skg\di`_ di P`^odji

FU-?-0-\-(0)+ Am- @g\mf•n \nnphkodji dn ^jhkg`o`gt bmjpi_g`nn \i_ `mmji`jpn+ \i_ oc` km`\h]g`

ja ^g\dh 7 dn gdhdodib+ ]`^\pn`9 (d) oc` km`\h]g` gdhdo\odji |rdm`g`nn ^jhhpid^\odji ^gd`io jm

`so`indji pido} kmjqd_`n \i \io`^`_`io ]\ndn ajm oc` ]j_t ja ^g\dhn 7+ 01+ \i_ 03; (dd) oc`

km`\h]g` m`^do`n i`^`nn\mt nomp^opm\g gdhdo\odjin ja oc` kpmkjmo`_ diq`iodji ja ^g\dh 7; \i_ (ddd)

oc` k\o`io``•n ^g`\m m`gd\i^` ji oc` km`\h]g` gdhdo\odji |rdm`g`nn ^jhhpid^\odji ^gd`io jm

`so`indji pido} _pmdib kmjn`^podji oj _dnodibpdnc oc` kpmkjmo`_ diq`iodji ^g\dh 7 amjh oc` kmdjm

\mo om\inajmhn oc` km`\h]g` dioj \ ^g\dh gdhdo\odji-




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         438-      Am- @g\mf njg`gt m`gd`_ ji ^`mo\di n`^odjin ja T`g^c•n Bsk`mo O`kjmo dio`mkm`odib

njpm^` ^j_` ja oc` D2 _`qd^` oj npkkjmo cdn \gg`b\odji- FQQ Bs- /2 (@g\mf O`kjmo) \o w 523

                                               - Ejr`q`m+ T`g^c•n Bsk`mo O`kjmo _d_ ijo npkkjmo+

\i_ `q`i i`b\o`_+ Am- @g\mf•n \gg`b\odji-

         44/-      K`doc`m Am- @g\mf ijm Jm- T`g^c ^do`_ oj \it njpm^` ^j_`




         440-      Qmpgt+ pkji m`qd`rdib oc` ^do`_ n`^odjin ja T`g^c Bsk`mo O`kjmo+ F ^jpg_ ijo adi_

Jm- T`g^c kmjqd_`_ \it np]no\iod\g diajmh\odji- Jm- T`g^c




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         441-      >o ocdn kjdio+ Jm- T`g^c dn ^jhkg`o`gt rmjib- ?\n`_ ji ht _dn^pnndjin rdoc

p@gjp_gdif rdoi`nn`n Pcp E` \i_ Ojibmjib W`ib+ F c\q` ^jiadmh`_ oc\o oc` P0 _`qd^`




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Bs- 4/ (R@I,P@////8770+                              ) \o gdi`n 081,086

         442-      Qc`m`ajm`+ Am- @g\mf \i_ Jm- T`g^c a\dg`_ oj kmjq` oc\o oc` P0 _`qd^` h``on oc`

Bg`h`io 03X\Z gdhdo\odji ja ^g\dh 03- Jjm` dhkjmo\iogt+ \n ncjri di oc` m`g`q\io njpm^` ^j_` F

_dn^pnn`_ \]jq`+ oc` P0 _`qd^`

             -

L(




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